Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF OHIO

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                               12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Brad
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        H
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Friedlander
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6772
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                              page 1
              19-12300-aih             Doc 1        FILED 04/17/19             ENTERED 04/17/19 13:55:13                           Page 1 of 146
Debtor 1   Brad H Friedlander                                                                         Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 3600 Park East Drive
                                 Apt. No. 513
                                 Beachwood, OH 44122
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Cuyahoga
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
              19-12300-aih          Doc 1         FILED 04/17/19               ENTERED 04/17/19 13:55:13                       Page 2 of 146
Debtor 1    Brad H Friedlander                                                                            Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor      BJRP LLC                                                     Relationship to you        Affiliate
                                                          Northern District of
                                              District    Ohio                          When     9/28/18               Case number, if known      18-15839
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 3
              19-12300-aih          Doc 1          FILED 04/17/19               ENTERED 04/17/19 13:55:13                          Page 3 of 146
Debtor 1    Brad H Friedlander                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 4
              19-12300-aih            Doc 1        FILED 04/17/19              ENTERED 04/17/19 13:55:13                            Page 4 of 146
Debtor 1    Brad H Friedlander                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
              19-12300-aih              Doc 1       FILED 04/17/19                ENTERED 04/17/19 13:55:13                     Page 5 of 146
Debtor 1    Brad H Friedlander                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                            5001-10,000                                   50,001-100,000
    owe?
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Brad H Friedlander
                                 Brad H Friedlander                                                Signature of Debtor 2
                                 Signature of Debtor 1

                                 Executed on     April 17, 2019                                    Executed on
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 6
              19-12300-aih          Doc 1         FILED 04/17/19               ENTERED 04/17/19 13:55:13                            Page 6 of 146
Debtor 1   Brad H Friedlander                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ David O. Simon                                                 Date         April 17, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                David O. Simon #0006050
                                Printed name

                                D.O. Simon Company, LPA
                                Firm name

                                55 Public Square, Suite 2100
                                Cleveland, OH 44113-1902
                                Number, Street, City, State & ZIP Code

                                Contact phone     (216) 621-6201                             Email address         david@simonlpa.com
                                #0006050 OH
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 7
             19-12300-aih           Doc 1            FILED 04/17/19           ENTERED 04/17/19 13:55:13                            Page 7 of 146
 Fill in this information to identify your case:

 Debtor 1                   Brad H Friedlander
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                                         Check if this is an
                                                                                                                                                                    amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                   Your assets
                                                                                                                                                                   Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................     $             120,900.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................          $              91,130.02

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................     $             212,030.02

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                   Your liabilities
                                                                                                                                                                   Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                      $             100,000.00

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                            $                      0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                              $          2,981,222.58


                                                                                                                                     Your total liabilities $               3,081,222.58


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................               $              12,211.64

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                           $              10,886.00

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

                Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                the court with your other schedules.
 Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                      page 1 of 2
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              19-12300-aih                  Doc 1            FILED 04/17/19                      ENTERED 04/17/19 13:55:13                                       Page 8 of 146
 Debtor 1      Brad H Friedlander                                                         Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                          $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $              0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $              0.00

       9d. Student loans. (Copy line 6f.)                                                                 $              0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $              0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$              0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 0.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
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            19-12300-aih                 Doc 1          FILED 04/17/19         ENTERED 04/17/19 13:55:13                      Page 9 of 146
 Fill in this information to identify your case and this filing:

 Debtor 1                    Brad H Friedlander
                             First Name                                 Middle Name                    Last Name

 Debtor 2
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF OHIO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        20 Oakshore Dr., #3                                                            Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Bratenahl                         OH        44108-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $120,900.00                $120,900.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only                              Joint Tenant
        Cuyahoga                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                PPN 631-09-321


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $120,900.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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            19-12300-aih                     Doc 1               FILED 04/17/19                    ENTERED 04/17/19 13:55:13                           Page 10 of 146
 Debtor 1        Brad H Friedlander                                                                                 Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Infiniti                                  Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      QX60                                            Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only                                            Current value of the        Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another
         Leased Vehicle
                                                                     Check if this is community property                                        $0.00                      $0.00
                                                                     (see instructions)



  3.2    Make:       BMW                                       Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      4 Series                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2019                                            Debtor 2 only                                            Current value of the        Current value of the
         Approximate mileage:                                        Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another
         Leased Vehicle
         Lease payments made by                                      Check if this is community property                                        $0.00                      $0.00
         employer                                                    (see instructions)




  3.3    Make:       Vespa                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Scooter                                         Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                            Current value of the        Current value of the
         Approximate mileage:                    3500                Debtor 1 and Debtor 2 only                               entire property?            portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $2,500.00                    $2,500.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                    $2,500.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                      Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    See Household Assets Attachment                                                                                                   $2,000.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
        No
Official Form 106A/B                                                       Schedule A/B: Property                                                                           page 2
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             19-12300-aih              Doc 1           FILED 04/17/19                     ENTERED 04/17/19 13:55:13                              Page 11 of 146
 Debtor 1          Brad H Friedlander                                                                                         Case number (if known)

        Yes. Describe.....

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                            Weights & Barbells                                                                                                           $100.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
        Yes. Describe.....

                                            Beretta .25 cal. pistol                                                                                                      $100.00


                                            Charter Arms .38 cal. pistol                                                                                                 $150.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
        No
        Yes. Describe.....

12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
        No
        Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
        Yes. Give specific information.....

                                            Assorted Hand Tools, Garden Tools, Power Washer                                                                              $500.00



 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                             $2,850.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................
Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 3
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           19-12300-aih                         Doc 1               FILED 04/17/19                             ENTERED 04/17/19 13:55:13               Page 12 of 146
 Debtor 1        Brad H Friedlander                                                                 Case number (if known)


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:

                                               Checking Account
                                      17.1.    #xxxx xxxx 0637              PNC Bank                                                           $3,768.50


                                               Checking Account
                                      17.2.    #xxxx-xxxx-0372              US Bank                                                            $5,109.50

                                               Investment
                                               Account
                                      17.3.    #xxxx-2690                   Wells Fargo Advisors                                             $38,989.18


                                               Savings Account
                                      17.4.    #xxxx-3118                   US Bank                                                          $24,057.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                   % of ownership:

                                         BJRP, LLC
                                         (In Ch. 11, 18-15839; all operting assets have
                                         been sold in the bankruptcy case)                               82%           %                             $0.00


                                         Red Restaurant Group, LLC                                       50%           %                             $0.00


                                         BJPM Management, LTD                                            51%           %                             $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
        Yes. List each account separately.
                                Type of account:                            Institution name:

                                      401K                                  Principal Financial -
                                                                            Red Restaurant Group                                             $13,855.84


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No

Official Form 106A/B                                                 Schedule A/B: Property                                                          page 4
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           19-12300-aih                Doc 1           FILED 04/17/19               ENTERED 04/17/19 13:55:13                Page 13 of 146
 Debtor 1         Brad H Friedlander                                                                          Case number (if known)

        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
        Yes. Give specific information about them...

                                                Debtor is Trustee of the Brad H. Friedlander Family Trust
                                                The Trust has no assets.                                                                                     $0.00


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                           Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
        No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                          Surrender or refund
                                                                                                                                           value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..



Official Form 106A/B                                                   Schedule A/B: Property                                                                page 5
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           19-12300-aih                    Doc 1        FILED 04/17/19              ENTERED 04/17/19 13:55:13                          Page 14 of 146
 Debtor 1         Brad H Friedlander                                                                                                    Case number (if known)

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................             $85,780.02


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
            If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................             $120,900.00
 56. Part 2: Total vehicles, line 5                                                                            $2,500.00
 57. Part 3: Total personal and household items, line 15                                                       $2,850.00
 58. Part 4: Total financial assets, line 36                                                                  $85,780.02
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $91,130.02              Copy personal property total           $91,130.02

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $212,030.02




Official Form 106A/B                                                               Schedule A/B: Property                                                                            page 6
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            19-12300-aih                     Doc 1            FILED 04/17/19                          ENTERED 04/17/19 13:55:13                                  Page 15 of 146
19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 16 of 146
19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 17 of 146
 Fill in this information to identify your case:

 Debtor 1                 Brad H Friedlander
                          First Name                        Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                Check if this is an
                                                                                                                                           amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the    Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from     Check only one box for each exemption.
                                                               Schedule A/B

      2007 Vespa Scooter 3500 miles                                   $2,500.00                                   $2,500.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 3.3                                                                                               2329.66(A)(2)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

      See Household Assets Attachment                                 $2,000.00                                   $2,000.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 6.1                                                                                               2329.66(A)(4)(a)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

      Weights & Barbells                                                  $100.00                                   $100.00     Ohio Rev. Code Ann. §
      Line from Schedule A/B: 9.1                                                                                               2329.66(A)(4)(a)
                                                                                            100% of fair market value, up to
                                                                                            any applicable statutory limit

      Assorted Hand Tools, Garden Tools,                                  $500.00                                   $500.00     Ohio Rev. Code Ann. §
      Power Washer                                                                                                              2329.66(A)(4)(a)
      Line from Schedule A/B: 14.1                                                          100% of fair market value, up to
                                                                                            any applicable statutory limit

      Checking Account #xxxx xxxx 0637:                               $3,768.50                                   $1,325.00     Ohio Rev. Code Ann. §
      PNC Bank                                                                                                                  2329.66(A)(18)
      Line from Schedule A/B: 17.1                                                          100% of fair market value, up to
                                                                                            any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
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              19-12300-aih             Doc 1           FILED 04/17/19                 ENTERED 04/17/19 13:55:13                      Page 18 of 146
 Debtor 1    Brad H Friedlander                                                                           Case number (if known)

     Brief description of the property and line on             Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from     Check only one box for each exemption.
                                                               Schedule A/B

     Checking Account #xxxx xxxx 0637:                                $3,768.50                                     $500.00        Ohio Rev. Code Ann. §
     PNC Bank                                                                                                                      2329.66(A)(3)
     Line from Schedule A/B: 17.1                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

     Checking Account #xxxx xxxx 0637:                                $3,768.50                                         75%        Ohio Rev. Code Ann. §
     PNC Bank                                                                                                                      2329.66(A)(13)
     Line from Schedule A/B: 17.1                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

     Checking Account #xxxx-xxxx-0372:                                $5,109.50                                   $5,109.50        42 U.S.C. § 407
     US Bank
     Line from Schedule A/B: 17.2                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

     Savings Account #xxxx-3118: US                                  $24,057.00                                 $24,057.00         42 U.S.C. § 407
     Bank
     Line from Schedule A/B: 17.4                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

     401K: Principal Financial -                                     $13,855.84                                 $13,855.84         Ohio Rev. Code Ann. §
     Red Restaurant Group                                                                                                          2329.66(A)(10)(d)
     Line from Schedule A/B: 21.1                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit

     401K: Principal Financial -                                     $13,855.84                                        $0.00       Ohio Rev. Code Ann. §
     Red Restaurant Group                                                                                                          2329.66(A)(17)
     Line from Schedule A/B: 21.1                                                           100% of fair market value, up to
                                                                                            any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                          page 2 of 2
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            19-12300-aih               Doc 1           FILED 04/17/19                 ENTERED 04/17/19 13:55:13                         Page 19 of 146
 Fill in this information to identify your case:

 Debtor 1                   Brad H Friedlander
                            First Name                       Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                       Middle Name                      Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     PNC Bank, NA                              Describe the property that secures the claim:              $100,000.00               $120,900.00                     $0.00
         Creditor's Name                           20 Oakshore Dr., #3 Bratenahl, OH
                                                   44108 Cuyahoga County
                                                   PPN 631-09-321
                                                   As of the date you file, the claim is: Check all that
         3232 Newmark Drive                        apply.
         Miamisburg, OH 45342                          Contingent
         Number, Street, City, State & Zip Code        Unliquidated
                                                       Disputed
 Who owes the debt? Check one.                     Nature of lien. Check all that apply.
     Debtor 1 only                                     An agreement you made (such as mortgage or secured
     Debtor 2 only                                      car loan)
       Debtor 1 and Debtor 2 only                      Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another           Judgment lien from a lawsuit
       Check if this claim relates to a                Other (including a right to offset)   First Mortgage
       community debt

 Date debt was incurred          8/24/18                    Last 4 digits of account number        6182


   Add the dollar value of your entries in Column A on this page. Write that number here:                               $100,000.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                              $100,000.00

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 1
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              19-12300-aih                 Doc 1       FILED 04/17/19                    ENTERED 04/17/19 13:55:13                          Page 20 of 146
 Fill in this information to identify your case:

 Debtor 1                     Brad H Friedlander
                              First Name                    Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority              Nonpriority
                                                                                                                                              amount                amount
 2.1          Ohio Department of Taxation                            Last 4 digits of account number                                  $0.00               $0.00                  $0.00
              Priority Creditor's Name
              ATTN: Bankruptcy Division                              When was the debt incurred?
              PO Box 530
              Columbus, OH 43216-0530
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government
        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated
              No                                                        Other. Specify
              Yes                                                                        Listed for precaution

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 1 of 76
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              19-12300-aih                 Doc 1        FILED 04/17/19                    ENTERED 04/17/19 13:55:13                                Page 21 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1      5 Star Refrigeration                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 263                                                 When was the debt incurred?           9/1/17 - 9/12/18
          2502 Wildwood Rd
          Wildwood, PA 15091
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.2      600 GS Prop LP                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          DEPT CGS-40                                                When was the debt incurred?           9/1/17 - 9/12/18
          PO BOX 558
          WAYNE, NJ 07474-9803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.3      A. Martini & Co.                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Verona, PA 15147
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 2 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 22 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.4      Abco                                                       Last 4 digits of account number       7702                                                   $0.00
          Nonpriority Creditor's Name
          P O Box 931933                                             When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.5      Accubar                                                    Last 4 digits of account number       1177                                                 $80.00
          Nonpriority Creditor's Name
          1301 Dove Street, Ste 300                                  When was the debt incurred?           9/1/17 - 9/12/18
          Newport Beach, CA 92660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.6      Acendex, Inc.                                              Last 4 digits of account number                                                        $7,038.46
          Nonpriority Creditor's Name
          Commerce Park V                                            When was the debt incurred?           9/1/17 - 9/12/18
          23250 Chagrin Blvd., #200
          Cleveland, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 23 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.7      Adcom                                                      Last 4 digits of account number       0081                                           $21,383.24
          Nonpriority Creditor's Name
          1370 W 6th St 3rd Floor                                    When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services


 4.8      Adcom Group, Inc.                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1370 W 6th St Suite 300                                    When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


          Advance American Business
 4.9      Solutions                                                  Last 4 digits of account number                                                     $449,912.00
          Nonpriority Creditor's Name
          120 West 45th St. 4th Floor                                When was the debt incurred?           2018
          New York, NY 10036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 24 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 0        Advance Merchant Finance , LLC                             Last 4 digits of account number                                                     $258,200.00
          Nonpriority Creditor's Name
          433 N Camden D., Ste 810                                   When was the debt incurred?           4/18/2018
          Beverly Hills, CA 90
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.1
 1        Advance Merchant Finance, 1 LLC                            Last 4 digits of account number                                                     $168,000.09
          Nonpriority Creditor's Name
          950 Pacific Ave., Suite 1050                               When was the debt incurred?           2018
          Tacoma, WA 98401-2315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.1
 2        Advantage Water Cond Inc                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5348 Victory Dr Ste B                                      When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 25 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 3        Adventure Chrysler Jeep                                    Last 4 digits of account number                                                        $3,120.21
          Nonpriority Creditor's Name
          36845 Euclid Avenue                                        When was the debt incurred?           9/1/17 - 9/12/18
          Willoughby, OH 44094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1      Airways Cleaning & Fireproofing
 4        Co., Inc                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4720 Oakes Rd. Suite E                                     When was the debt incurred?           9/1/17 - 9/12/18
          Davie, FL 33314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 5        Albert Uster Imports, Inc.                                 Last 4 digits of account number                                                          $617.87
          Nonpriority Creditor's Name
          P O Box 79107                                              When was the debt incurred?           9/1/17 - 9/12/18
          Baltimore, MD 21279-0107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 26 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 6        Alsco                                                      Last 4 digits of account number       6152                                                   $0.00
          Nonpriority Creditor's Name
          1415 NW 21st Terrace                                       When was the debt incurred?           9/1/17 - 9/12/18
          Miami, FL 33142
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 7        American Express                                           Last 4 digits of account number       8001                                             $1,029.44
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101-1270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases


 4.1
 8        American Express                                           Last 4 digits of account number       6007                                             $1,085.73
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101-1270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 27 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 9        American Express                                           Last 4 digits of account number       5000                                               $893.80
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101-1270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases


 4.2
 0        American Express                                           Last 4 digits of account number       1009                                               $152.99
          Nonpriority Creditor's Name
          PO Box 1270                                                When was the debt incurred?
          Newark, NJ 07101-1270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases


 4.2
 1        American Express Bank                                      Last 4 digits of account number       0800                                          $269,000.00
          Nonpriority Creditor's Name
          c/o: Datamark Inc.                                         When was the debt incurred?           2/1/2018
          43 Butterfield Circle
          El Paso, TX 79906
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 28 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 2        Amur Equipment Finance                                     Last 4 digits of account number       4901                                           $67,166.00
          Nonpriority Creditor's Name
          PO Box 2555                                                When was the debt incurred?
          308 N. Locust St. Suiute 100
          Grand Island, NE 68801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.2
 3        Anson Mills                                                Last 4 digits of account number                                                          $261.22
          Nonpriority Creditor's Name
          PO Box 50408                                               When was the debt incurred?           9/1/17 - 9/12/18
          Columbia, SC 29250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.2
 4        Asia International, Inc.                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Account Receivable & Payable                               When was the debt incurred?           9/1/17 - 9/12/18
          555 Parkcenter Drive Suite 110
          Santa Ana, CA 92705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 29 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 5        ASV Services                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27801 Euclid Ave.                                          When was the debt incurred?           9/1/17 - 9/12/18
          Ste #420
          Euclid, OH 44132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.2
 6        AT&T                                                       Last 4 digits of account number       5559                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 5014                                                When was the debt incurred?           9/1/17 - 9/12/18
          Carol Stream, IL 60197-5014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.2
 7        AV Designers                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8742 Robbins Road                                          When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46268
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 30 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 8        Banner Life                                                Last 4 digits of account number       3324                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 740526                                              When was the debt incurred?           9/1/17 - 9/12/18
          Atlanta, GA 30374-0526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.2
 9        Bar Harbor Seafood                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2000 Premier Row                                           When was the debt incurred?           9/1/17 - 9/12/18
          Orlando, FL 32809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.3
 0        Barclays                                                   Last 4 digits of account number       2240                                             $7,195.45
          Nonpriority Creditor's Name
          PO Box 13337                                               When was the debt incurred?
          Philadelphia, PA 19101-3337
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 31 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.3
 1        Bass Security                                              Last 4 digits of account number       6030                                               $796.34
          Nonpriority Creditor's Name
          P O Box 901805                                             When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44190-1805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services


 4.3
 2        Bassichis Real Estate Profit                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Sharing Plan and Trust                                     When was the debt incurred?
          1421 St. Clair Ave.
          Cleveland, OH 44114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.3
 3        Beachwood Chamber of Commerce                              Last 4 digits of account number                                                          $220.00
          Nonpriority Creditor's Name
          24000 Mercantile Rd, Ste 3                                 When was the debt incurred?           9/1/17 - 9/12/18
          Beachwood, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 32 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.3
 4        Beck, William                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          451 E. Market St. #427                                     When was the debt incurred?
          Indianapolis, IN 46204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.3
 5        Bemka House of Caviar                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2801 SW 3rd Avenue                                         When was the debt incurred?           9/1/17 - 9/12/18
          Ste F11A
          Ft. Lauderdale, FL 33315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.3
 6        Berger, Gayle                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3535 Rolling Hills Drive                                   When was the debt incurred?
          Pepper Pike, OH 44124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 33 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.3
 7        Best Kitchen                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.3
 8        Better Business Funding                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2010 Jimmy Durante Blvd. #224                              When was the debt incurred?
          Del Mar, CA 92014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Overdraft protection


 4.3
 9        BlRibbon                                                   Last 4 digits of account number                                                      $92,387.73
          Nonpriority Creditor's Name
          P O Box 932074                                             When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 34 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.4
 0        Blue Island Oyster Co.                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 31                                                  When was the debt incurred?           9/1/17 - 9/12/18
          West Sayville, NY 11796
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.4
 1        Blue Technologies                                          Last 4 digits of account number       A899                                               $766.21
          Nonpriority Creditor's Name
          PO Box 31475                                               When was the debt incurred?           9/1/17 - 9/12/18
          Independence, OH 44131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.4
 2        Bouterse                                                   Last 4 digits of account number                                                        $3,950.32
          Nonpriority Creditor's Name
          26001 Miles Rd., Studio #7                                 When was the debt incurred?           9/1/17 - 9/12/18
          Warrensville Hts., OH 44128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 15 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 35 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.4
 3        Breakthru Beverage Group                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Premier Beverage Company                                   When was the debt incurred?           9/1/17 - 9/12/18
          PO Box 820410
          South Florida, FL 33082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.4
 4        Brown Distributing                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.4      Buckingham, Doolittle &
 5        Burroughs, LLC                                             Last 4 digits of account number                                                      $36,754.80
          Nonpriority Creditor's Name
          3800 Embassy Parkway                                       When was the debt incurred?           9/1/17 - 9/12/18
          Suite 300
          Akron, OH 44333
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Legal services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 16 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 36 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.4
 6        BWC State Ins. Fund                                        Last 4 digits of account number                                                        $1,301.71
          Nonpriority Creditor's Name
          Corporate Processing Dept.                                 When was the debt incurred?           9/1/17 - 9/12/18
          Columbus, OH 43271-0977
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Taxes


 4.4
 7        C.A. Curtze                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1717 E 12th St                                             When was the debt incurred?           9/1/17 - 9/12/18
          PO Box 797
          Erie, PA 16512
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.4
 8        Caltronics National                                        Last 4 digits of account number       7550                                                   $0.00
          Nonpriority Creditor's Name
          2490 Greentree Road                                        When was the debt incurred?           9/1/17 - 9/12/18
          Carnegie, PA 15106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 17 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 37 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.4
 9        Capri Westfield Farm Inc                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          28 Worcester Road                                          When was the debt incurred?           9/1/17 - 9/12/18
          Hubbardston, MA 01452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.5
 0        Catanese Classic                                           Last 4 digits of account number                                                      $54,529.69
          Nonpriority Creditor's Name
          1600 Merwin Avenue                                         When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.5
 1        Catanese Classic                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1600 Merwin Ave                                            When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 18 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 38 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.5
 2        Caterease                                                  Last 4 digits of account number                                                        $2,400.00
          Nonpriority Creditor's Name
          Management Software                                        When was the debt incurred?           9/1/17 - 9/12/18
          PO Box 7459
          Naples, FL 34101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.5
 3        CCT Financial                                              Last 4 digits of account number       9562                                               $791.18
          Nonpriority Creditor's Name
          P.O. Box 41602                                             When was the debt incurred?           9/1/17 - 9/12/18
          Philadelphia, PA 19101-1601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.5
 4        Chase                                                      Last 4 digits of account number       8241                                           $29,004.50
          Nonpriority Creditor's Name
          PO Box 15123                                               When was the debt incurred?
          Wilmington, DE 19850-5123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 19 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 39 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.5
 5        Chef Dave's Catering                                       Last 4 digits of account number                                                          $340.00
          Nonpriority Creditor's Name
          2396 Bromley Road                                          When was the debt incurred?           9/1/17 - 9/12/18
          University Hts, OH 44118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.5
 6        Chef2Chef                                                  Last 4 digits of account number                                                        $5,937.49
          Nonpriority Creditor's Name
          1600 Merwin Ave.                                           When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.5
 7        CIT                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21146 Network Place                                        When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60673-1211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 20 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 40 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.5
 8        CIT Technologies DNU                                       Last 4 digits of account number       2000                                                   $0.00
          Nonpriority Creditor's Name
          21146 Network Place                                        When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60673-1211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.5
 9        Citation Collections Services                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 80239                                               When was the debt incurred?           9/1/17 - 9/12/18
          INDIANAPOLIS, IN 46280-0239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.6
 0        CitiBusiness Card                                          Last 4 digits of account number       9860                                             $5,093.95
          Nonpriority Creditor's Name
          PO Box 790046                                              When was the debt incurred?
          Saint Louis, MO 63179-0046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 21 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 41 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.6
 1        Clerk of Court                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Court of Common Pleas, Cuyahoga                            When was the debt incurred?
          Cty
          1200 Ontario Street
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.6
 2        Cleveland Jewish News                                      Last 4 digits of account number                                                          $500.00
          Nonpriority Creditor's Name
          23880 Commerce Pk., #1                                     When was the debt incurred?           9/1/17 - 9/12/18
          Beachwood, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.6
 3        Cleveland Scene                                            Last 4 digits of account number                                                          $125.00
          Nonpriority Creditor's Name
          737 Bolivar Rd Ste 4100                                    When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 22 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 42 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.6
 4        Coca-Cola                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 602937                                              When was the debt incurred?           9/1/17 - 9/12/18
          Charlotte, NC 28260-2937
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.6
 5        Comcast                                                    Last 4 digits of account number       2543                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 3001                                                When was the debt incurred?           9/1/17 - 9/12/18
          Southeastern, PA 19398-3001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.6
 6        Commercial Finance & Leasing                               Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          23282 Mill Creek Drive                                     When was the debt incurred?           2017
          Suite 360
          Laguna Hills, CA 92653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 23 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 43 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.6
 7        Concierge Connect                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3370 190th St., #1712                                      When was the debt incurred?           9/1/17 - 9/12/18
          Aventura, FL 33180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.6      Contemporary Restaurant
 8        Appliances, Inc.                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3654 NW 85th Terrace                                       When was the debt incurred?           9/1/17 - 9/12/18
          Pembroke Pines, FL 33024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.6
 9        Coyle Hospitality Services                                 Last 4 digits of account number                                                        $3,654.66
          Nonpriority Creditor's Name
          244 Madison Avenue                                         When was the debt incurred?           9/1/17 - 9/12/18
          Suite 369
          New York, NY 10016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 24 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 44 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.7
 0        Creation Gardens                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2055 Nelson Miller Parkway                                 When was the debt incurred?           9/1/17 - 9/12/18
          Louisville, KY 40233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.7
 1        Culinary Convenience                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2212 S. Andrews Ave. Suite 1                               When was the debt incurred?           9/1/17 - 9/12/18
          Fort Lauderdale., FL 33316
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.7
 2        CVEC                                                       Last 4 digits of account number                                                        $3,564.00
          Nonpriority Creditor's Name
          P O Box 146                                                When was the debt incurred?           9/1/17 - 9/12/18
          Chagrin Falls, OH 44022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 25 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 45 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.7
 3        Cy's Linen Service                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          510 West 28th Street                                       When was the debt incurred?           9/1/17 - 9/12/18
          Hialeah, FL 33010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.7
 4        D'Artagnan                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 447                                                 When was the debt incurred?           9/1/17 - 9/12/18
          Union, NJ 07083-0447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.7
 5        Darling Intn'l Inc.                                        Last 4 digits of account number       3225                                               $345.60
          Nonpriority Creditor's Name
          P O Box 552210                                             When was the debt incurred?           9/1/17 - 9/12/18
          Detroit, MI 48255-2210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 26 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 46 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.7
 6        Dean Supply                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3500 Woodland Ave                                          When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44115-3421
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.7
 7        Double Park                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1717 N. Bay Shore Drive                                    When was the debt incurred?           9/1/17 - 9/12/18
          Suite 250
          Miami, FL 33132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.7
 8        Eagle Brand Sales                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 27 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 47 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.7
 9        Ecolab Pest Control                                        Last 4 digits of account number       0001                                                   $0.00
          Nonpriority Creditor's Name
          26252 Network Place                                        When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60673-1262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.8
 0        Ecolab Pest Elimination                                    Last 4 digits of account number       0001                                                   $0.00
          Nonpriority Creditor's Name
          26252 Network Place                                        When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60673-1262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.8
 1        Edward Don & Company                                       Last 4 digits of account number       4433                                                   $0.00
          Nonpriority Creditor's Name
          2562 Paysphere Circle                                      When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60674
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 28 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 48 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.8
 2        EGB Industries, LLC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Valley Ridge Farm                                        When was the debt incurred?
          Hunting Valley, OH 44022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.8
 3        Electrical Appliance                                       Last 4 digits of account number                                                          $859.04
          Nonpriority Creditor's Name
          5805 Valley Belt Road                                      When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.8
 4        Equity Planning, Inc                                       Last 4 digits of account number                                                      $55,147.00
          Nonpriority Creditor's Name
          3355 Richmond Road                                         When was the debt incurred?           9/1/17 - 9/12/18
          Beachwood, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 29 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 49 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.8
 5        Espresso Solutions                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 30672                                               When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46220-1990
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.8
 6        Euro USA                                                   Last 4 digits of account number       0905                                           $30,090.12
          Nonpriority Creditor's Name
          PO Box 536702                                              When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15253-5909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.8
 7        Event Source                                               Last 4 digits of account number                                                        $3,041.15
          Nonpriority Creditor's Name
          PO Box 92957                                               When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44194-2957
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 30 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 50 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.8
 8        Fast Signs - CLE                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5369 Mayfield Road                                         When was the debt incurred?           9/1/17 - 9/12/18
          Lyndhurst, OH 44124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.8
 9        Fed Ex                                                     Last 4 digits of account number       8372                                                 $43.14
          Nonpriority Creditor's Name
          P O Box 371461                                             When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15250-7461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services


 4.9
 0        First Rate Service                                         Last 4 digits of account number                                                        $1,351.83
          Nonpriority Creditor's Name
          P O Box 26325                                              When was the debt incurred?           9/1/17 - 9/12/18
          Fairview Park, OH 44126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 31 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 51 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.9
 1        FMC Specialized Cleaning                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 299                                                 When was the debt incurred?           9/1/17 - 9/12/18
          Scottdale, PA 15683
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.9
 2        Fortessa                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20412 Bashan Dr                                            When was the debt incurred?           9/1/17 - 9/12/18
          Ashburn, VA 20147
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.9
 3        Fresca Italia Inc                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          107 Park Lane                                              When was the debt incurred?           9/1/17 - 9/12/18
          Brisbane, CA 94005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 32 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 52 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.9
 4        Goldstar Management LLC                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18 Woods Edge Ct                                           When was the debt incurred?           9/1/17 - 9/12/18
          Pittsboro, IN 46167
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.9
 5        Gurkha Cigar Group                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          c/o City National Bank                                     When was the debt incurred?           9/1/17 - 9/12/18
          P.O. Box 12499
          Miami, FL 33101-2499
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.9
 6        H Jacks Plumbing                                           Last 4 digits of account number                                                        $1,440.00
          Nonpriority Creditor's Name
          29930 Lakeland Blvd                                        When was the debt incurred?           9/1/17 - 9/12/18
          Wickliffe, OH 44092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 33 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 53 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.9
 7        Halperns                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 116421                                              When was the debt incurred?           9/1/17 - 9/12/18
          Atlanta, GA 30368-6421
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.9
 8        Hanmi Bank                                                 Last 4 digits of account number       5738                                             $1,233.32
          Nonpriority Creditor's Name
          PO Box 3892                                                When was the debt incurred?           9/1/17 - 9/12/18
          Seattle, WA 98124-3892
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.9
 9        Hartford                                                   Last 4 digits of account number       7515                                                   $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 34 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 54 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 00       Helget Gas Products                                        Last 4 digits of account number       8120                                                   $0.00
          Nonpriority Creditor's Name
          P O Box 24246                                              When was the debt incurred?           9/1/17 - 9/12/18
          Omaha, NE 68124-0246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 01       Hitachi Capital America Corp.                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7808 Creekridge Circle                                     When was the debt incurred?           2017
          Suite 250
          Minneapolis, MN 55439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.1
 02       Hotel Indigo                                               Last 4 digits of account number                                                          $461.36
          Nonpriority Creditor's Name
          3581 Park East Dr                                          When was the debt incurred?           9/1/17 - 9/12/18
          Beachwood, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 35 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 55 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 03       Hubbard & Cravens                                          Last 4 digits of account number       0467                                                   $0.00
          Nonpriority Creditor's Name
          1114 E 52nd St                                             When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 04       Huntington Technology Finance                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2017                                                When was the debt incurred?           9/1/17 - 9/12/18
          Bloomfield Hills, MI 48303-2017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 05       Illuminating - 669                                         Last 4 digits of account number       1                                                  $462.81
          Nonpriority Creditor's Name
          PO Box 3638                                                When was the debt incurred?           9/1/17 - 9/12/18
          Akron, OH 44309-3638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Utilities




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 36 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 56 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 06       Illuminating - 715                                         Last 4 digits of account number       1                                                $4,048.26
          Nonpriority Creditor's Name
          P O Box 3638                                               When was the debt incurred?           9/1/17 - 9/12/18
          Akron, OH 44309-3638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Utilities


 4.1
 07       Illuminating - 785                                         Last 4 digits of account number       1                                                  $472.51
          Nonpriority Creditor's Name
          PO Box 3638                                                When was the debt incurred?           9/1/17 - 9/12/18
          Akron, OH 44309-3638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Utilities


 4.1
 08       Indiana Chamber of Commerce                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 37 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 57 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 09       Indianapolis Monthly                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Dept 78942                                                 When was the debt incurred?           9/1/17 - 9/12/18
          PO Box 78000
          Detroit, MI 48278-0942
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 10       ISF Signs                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 11       JC Ehrlich                                                 Last 4 digits of account number       7881                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 13848                                               When was the debt incurred?           9/1/17 - 9/12/18
          Reading, PA 19612-3848
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 38 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 58 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 12       JDL Real Estate Ventures, LLC                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7258 North State Road 39                                   When was the debt incurred?           9/1/17 - 9/12/18
          Lizton, IN 46149
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 13       JP Parker Flowers                                          Last 4 digits of account number       8156                                                   $0.00
          Nonpriority Creditor's Name
          801 S. Meridian                                            When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46225
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 14       JumpStart Inc.                                             Last 4 digits of account number                                                        $1,000.00
          Nonpriority Creditor's Name
          6701 Carnegie Ave, Ste 100                                 When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 39 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 59 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 15       Just Kleen It                                              Last 4 digits of account number                                                        $1,800.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 16       Kantina                                                    Last 4 digits of account number                                                            $69.95
          Nonpriority Creditor's Name
          Geller Hillel Building CWRU                                When was the debt incurred?           9/1/17 - 9/12/18
          11303 Euclid Ave.
          Cleveland, OH 44106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 17       Killbuck                                                   Last 4 digits of account number                                                            $41.00
          Nonpriority Creditor's Name
          7927 Overton Road                                          When was the debt incurred?           9/1/17 - 9/12/18
          Burbank, OH 44214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 40 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 60 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 18       Kolano Design                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6026 Centre Ave                                            When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15206-3784
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 19       Kutak Rock, LLP                                            Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          ATTN: Peter J. Barrett                                     When was the debt incurred?           2018
          901 East Byrd Street, Suite 1000
          Richmond, VA 23219-4071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services


 4.1
 20       Lariviere Parking System LLC                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          304 Indian Trace Ste 448                                   When was the debt incurred?           9/1/17 - 9/12/18
          Weston, FL 33326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 41 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 61 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 21       Lugaila Mechanical Inc                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Rutgers Rd                                               When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 22       Manion Plumbing, Inc                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Cooper Road                                             When was the debt incurred?           9/1/17 - 9/12/18
          Venetia, PA 15367
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 23       Marky's                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 NW 159th Drive                                        When was the debt incurred?           9/1/17 - 9/12/18
          Miami, FL 33169
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 42 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 62 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 24       Mattlin                                                    Last 4 digits of account number                                                          $207.04
          Nonpriority Creditor's Name
          7321 Shelford Drive                                        When was the debt incurred?           9/1/17 - 9/12/18
          Solon, OH 44139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 25       Mehta, Jaimini                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify


 4.1
 26       Meritech                                                   Last 4 digits of account number       W607                                             $2,946.47
          Nonpriority Creditor's Name
          4577 Hincklely Indus. Pkwy.                                When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44109-6009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 43 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 63 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 27       Miami Beach Camber of Commerce                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1920 Meridian Ave, 3rd Fl.                                 When was the debt incurred?           9/1/17 - 9/12/18
          Miami Beach, FL 33139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 28       Mikuni                                                     Last 4 digits of account number                                                          $395.05
          Nonpriority Creditor's Name
          18818 13th Place South                                     When was the debt incurred?           9/1/17 - 9/12/18
          Seatac, WA 98148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 29       Minotti, Michael                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6685 Beta Drive                                            When was the debt incurred?
          Mayfield Village, OH 44143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 44 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 64 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 30       MOOD                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P O Box 602777                                             When was the debt incurred?           9/1/17 - 9/12/18
          Charlotte, NC 28260-2777
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 31       Morgan                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 E Lincoln St                                           When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46225
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 32       Morgan Services                                            Last 4 digits of account number       0000                                                   $0.00
          Nonpriority Creditor's Name
          2013 Columbus Rd                                           When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113-3516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 45 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 65 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 33       Mowery                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          710 E Main St                                              When was the debt incurred?           9/1/17 - 9/12/18
          Brownsburg, IN 46112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 34       Napier Florida Development, LLC                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6494 Friarsgate Drive NW                                   When was the debt incurred?
          Canton, OH 44718
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.1
 35       Napier, William                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3968 Cobworth Ct.                                          When was the debt incurred?
          Uniontown, OH 44685
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 46 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 66 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 36       Neofunds Postage                                           Last 4 digits of account number       3290                                                 $45.84
          Nonpriority Creditor's Name
          P O Box 30193                                              When was the debt incurred?           9/1/17 - 9/12/18
          Tampa, FL 33630-3193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 37       Nou-veau Bistro                                            Last 4 digits of account number                                                          $230.00
          Nonpriority Creditor's Name
          7590 Fredle Dr                                             When was the debt incurred?           9/1/17 - 9/12/18
          Concord, OH 44077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 38       Oakley, Charles                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16897 Northvale Blvd.                                      When was the debt incurred?
          East Cleveland, OH 44112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 47 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 67 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 39       Oasis Window Cleaning                                      Last 4 digits of account number                                                          $118.80
          Nonpriority Creditor's Name
          P.O. Box 16727                                             When was the debt incurred?           9/1/17 - 9/12/18
          Rocky River, OH 44116
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services


 4.1
 40       Ohio Dept of Commerce                                      Last 4 digits of account number       8454                                             $4,044.00
          Nonpriority Creditor's Name
          Ohio Division of Liquor Control                            When was the debt incurred?           9/1/17 - 9/12/18
          6606 Tussing Road
          Reynoldsburg, OH 43068-9005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Taxes


 4.1
 41       One View Communications Inc.                               Last 4 digits of account number                                                        $1,517.99
          Nonpriority Creditor's Name
          8870 Darrow Rd #130                                        When was the debt incurred?           9/1/17 - 9/12/18
          Twinsburg, OH 44087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 48 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 68 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 42       Oracle America                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 203448                                              When was the debt incurred?           9/1/17 - 9/12/18
          Dallas, TX 75320-3448
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 43       Oracle America                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 44471                                               When was the debt incurred?           9/1/17 - 9/12/18
          San Francisco, CA 94144-4471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 44       Orlando Baking                                             Last 4 digits of account number                                                          $139.80
          Nonpriority Creditor's Name
          7777 Grand Avenue                                          When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44104-3099
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 49 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 69 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 45       Packo, David                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4535 Dressler Road NW                                      When was the debt incurred?
          Canton, OH 44718
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.1
 46       Paragon                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 645423                                              When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15264
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 47       Park Street Import                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Brickell Ave, Ste 915                                 When was the debt incurred?           9/1/17 - 9/12/18
          Miami, FL 33131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 50 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 70 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 48       PCG Computers, Inc.                                        Last 4 digits of account number                                                        $8,420.08
          Nonpriority Creditor's Name
          Commerce Park Five                                         When was the debt incurred?           9/1/17 - 9/12/18
          23250 Chagrin Blvd., #200
          Cleveland, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 49       Peoples United Bank NA                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 644760                                              When was the debt incurred?           2017
          Pittsburgh, PA 15264-4760
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 50       Perfect Solution Landscaping                               Last 4 digits of account number                                                        $2,417.04
          Nonpriority Creditor's Name
          32099 Gates Mills Blvd                                     When was the debt incurred?           9/1/17 - 9/12/18
          Pepper Pike, OH 44124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 51 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 71 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 51       Piazza Produce                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 68931                                               When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46268-0931
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 52       Pittsburgh Magazine                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 644572                                              When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15264-4572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 53       Pittsburgh Penguins                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PPG Paints Arena                                           When was the debt incurred?           9/1/17 - 9/12/18
          1001 Fifth Ave
          Pittsburgh, PA 15219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 52 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 72 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 54       Pivot Marketing                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          646 Virginia Avenue                                        When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 55       Premier Produce                                            Last 4 digits of account number       183                                            $62,801.28
          Nonpriority Creditor's Name
          4500 Willow Pkwy                                           When was the debt incurred?           9/1/17 - 9/12/18
          Cuyahoga Falls, OH 44125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 56       Prime Line Distributors                                    Last 4 digits of account number       4526                                                   $0.00
          Nonpriority Creditor's Name
          2800 SW 42nd St                                            When was the debt incurred?           9/1/17 - 9/12/18
          Fort Lauderdale, FL 33312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 53 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 73 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 57       Principal Financial Group                                  Last 4 digits of account number       5501                                                   $0.00
          Nonpriority Creditor's Name
          Grand Island                                               When was the debt incurred?           9/1/17 - 9/12/18
          PO BOX 14513
          Des Moines, IA 50306-3513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 58       Principal Life                                             Last 4 digits of account number       5501                                                   $0.00
          Nonpriority Creditor's Name
          Group, Grand Island                                        When was the debt incurred?           9/1/17 - 9/12/18
          P O Box 14513
          Des Moines, IA 50306-3513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 59       Prographic Systems                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13000 S. Tryon St., #F-277                                 When was the debt incurred?           9/1/17 - 9/12/18
          Charlotte, NC 28278
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 54 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 74 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 60       Regional Income Tax Agency                                 Last 4 digits of account number       3042                                             $1,116.24
          Nonpriority Creditor's Name
          P.O. Box 94951                                             When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44101-4951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Taxes


 4.1
 61       Republic National                                          Last 4 digits of account number       9124                                                   $0.00
          Nonpriority Creditor's Name
          441 se 12th ave                                            When was the debt incurred?           9/1/17 - 9/12/18
          Deerfield Beach, FL 33442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 62       Responsible Vendors                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 69-2982                                             When was the debt incurred?           9/1/17 - 9/12/18
          Miami, FL 33269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 55 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 75 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 63       Roca Farms                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 64       Roto Rooter                                                Last 4 digits of account number                                                        $1,588.53
          Nonpriority Creditor's Name
          5672 Collections Ctr. Drive                                When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60693
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services


 4.1
 65       Roulston, Chris                                            Last 4 digits of account number                                                      $40,000.00
          Nonpriority Creditor's Name
          3950 Waterford Ct.                                         When was the debt incurred?           2016
          Orange Village, OH 44122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Business Loan




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 56 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 76 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 66       Royal Cup Coffee                                           Last 4 digits of account number       3942                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 206011                                              When was the debt incurred?           9/1/17 - 9/12/18
          Dallas, TX 75320-6011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 67       Sani Products Pest Control                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          842 East Ohio Street                                       When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 68       Shred-it                                                   Last 4 digits of account number                                                            $82.88
          Nonpriority Creditor's Name
          23166 Network Place                                        When was the debt incurred?           9/1/17 - 9/12/18
          Chicago, IL 60673-1252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 57 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 77 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 69       Shutts and Bowen                                           Last 4 digits of account number       3989                                                   $0.00
          Nonpriority Creditor's Name
          200 South Biscayne Blvd                                    When was the debt incurred?           9/1/17 - 9/12/18
          Sutie 4100
          Miami, FL 33131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 70       Skoda,Minotti                                              Last 4 digits of account number                                                      $56,000.04
          Nonpriority Creditor's Name
          6685 Beta Drive                                            When was the debt incurred?           9/1/17 - 9/12/18
          Mayfield Village, OH 44143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Accounting Services


 4.1
 71       Sky Builders                                               Last 4 digits of account number                                                          $778.80
          Nonpriority Creditor's Name
          2735 Sinton Place                                          When was the debt incurred?           9/1/17 - 9/12/18
          Pepper Pike, OH 44124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 58 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 78 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 72       Solstice                                                   Last 4 digits of account number                                                        $3,345.60
          Nonpriority Creditor's Name
          2333 St. Clair Ave.                                        When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 73       Southern Florida Concierge                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 630366                                            When was the debt incurred?           9/1/17 - 9/12/18
          Miami, FL 33163
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 74       Southern Glazers                                           Last 4 digits of account number       6723                                                   $0.00
          Nonpriority Creditor's Name
          4224 S. Florida Ave.                                       When was the debt incurred?           9/1/17 - 9/12/18
          Lakeland, FL 33813
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 59 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 79 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 75       SRC 917,LLC                                                Last 4 digits of account number                                                     $121,000.00
          Nonpriority Creditor's Name
          c/o Corine Shelley                                         When was the debt incurred?           2013
          10 Venetian Way #2306
          Miami Beach, FL 33139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.1
 76       Staples                                                    Last 4 digits of account number       4695                                               $358.41
          Nonpriority Creditor's Name
          PO Box 105638                                              When was the debt incurred?           9/1/17 - 9/12/18
          Atlanta, GA 30348-5638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 77       Staples Advantage                                          Last 4 digits of account number       4908                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 105638                                              When was the debt incurred?           9/1/17 - 9/12/18
          Atlanta, GA 30348-5638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 60 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 80 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 78       State Cleaning Solutions                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 77012                                               When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44194-7012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 79       State Cleaning Solutions                                   Last 4 digits of account number                                                      $14,375.32
          Nonpriority Creditor's Name
          PO Box 77012                                               When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44194-7012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 80       Steel City Traps                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3608 Spring Garden Rd                                      When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 61 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 81 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 81       Strassman Insurance                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26351 Curtiss-Wright Pkwy.                                 When was the debt incurred?           9/1/17 - 9/12/18
          Richmond Heights, OH 44143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 82       Strassman Insurance                                        Last 4 digits of account number                                                      $22,185.90
          Nonpriority Creditor's Name
          26351 Curtiss-Wright Pkwy.                                 When was the debt incurred?           9/1/17 - 9/12/18
          Richmond Heights, OH 44143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Insurance


 4.1
 83       Sunbelt Rentals                                            Last 4 digits of account number       4837                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 409211                                            When was the debt incurred?           9/1/17 - 9/12/18
          Atlanta, GA 30384-9211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 62 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 82 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 84       Sutton-Garten Company                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          901 North Senate Ave                                       When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46202-3029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 85       Synchrony Bank/Care Credit                                 Last 4 digits of account number       1247                                           $10,248.20
          Nonpriority Creditor's Name
          PO Box 960061                                              When was the debt incurred?
          Orlando, FL 32896-0061
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Credit Card Purchases


 4.1
 86       Sysco                                                      Last 4 digits of account number       6266                                                   $0.00
          Nonpriority Creditor's Name
          4000 W 62nd St                                             When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46268
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 63 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 83 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 87       Sysco                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1000                                                When was the debt incurred?           9/1/17 - 9/12/18
          Harmony, PA 16037-1000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 88       Sysco Food                                                 Last 4 digits of account number                                                      $56,929.62
          Nonpriority Creditor's Name
          P O Box 94570                                              When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44101-9804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 89       Sysco Food Services - South FL                             Last 4 digits of account number       4117                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 64000 - A                                           When was the debt incurred?           9/1/17 - 9/12/18
          Miami, FL 33164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 64 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 84 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 90       Team 360                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          51 Koweba Lane                                             When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 91       Team Clean PGH                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          240 Executive Dr.                                          When was the debt incurred?           9/1/17 - 9/12/18
          PO BOX 1499
          Cranberry Twp, PA 16066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 92       TECO                                                       Last 4 digits of account number       0704                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 31017                                               When was the debt incurred?           9/1/17 - 9/12/18
          Tampa, FL 33631
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 65 of 76
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy



          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 85 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 93       The Art of Clean Inc                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5602 Elmwood Ave, Ste 218                                  When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.1
 94       The Chef Agency                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          275 Madison Avenue                                         When was the debt incurred?           9/1/17 - 9/12/18
          24th Floor
          New York, NY 10016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.1
 95       The Chef's Warehouse of Florida                            Last 4 digits of account number       6331                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 32187                                               When was the debt incurred?           9/1/17 - 9/12/18
          New York, NY 10087-2187
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 66 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 86 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 96       The CitiView Publications                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 447                                                 When was the debt incurred?           9/1/17 - 9/12/18
          Floyds Knobs, IN 47119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.1
 97       Thunder Tech                                               Last 4 digits of account number                                                        $1,500.00
          Nonpriority Creditor's Name
          3635 Perkins Ave                                           When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.1
 98       Total Line Refrigeration                                   Last 4 digits of account number                                                        $3,535.48
          Nonpriority Creditor's Name
          33530 Pin Oak Parkway                                      When was the debt incurred?           9/1/17 - 9/12/18
          Avon Lake, OH 44012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 67 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 87 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.1
 99       Tower IV, LLC                                              Last 4 digits of account number                                                     $960,000.00
          Nonpriority Creditor's Name
          6140 Parkland Blvd. Suite 300                              When was the debt incurred?           2018
          Mayfield Hts., OH 44124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.2
 00       TriMark SS-Kemp                                            Last 4 digits of account number       1537                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 536326                                              When was the debt incurred?           9/1/17 - 9/12/18
          Pittsburgh, PA 15253-5905
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.2
 01       U.S. Bank                                                  Last 4 digits of account number       1921                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 790448                                              When was the debt incurred?           9/1/17 - 9/12/18
          St. Louis, MO 63179-0448
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 68 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 88 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 02       United Air Specialists, Inc                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 409825                                              When was the debt incurred?           9/1/17 - 9/12/18
          Atlanta, GA 30384-9825
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.2
 03       United Health Care                                         Last 4 digits of account number       3047                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 94017                                               When was the debt incurred?           9/1/17 - 9/12/18
          Palatine, IL 60094-4017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.2
 04       Urban Farms                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 69 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 89 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 05       Vacmaster                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.2
 06       Vanco                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8025 Castleway Drive                                       When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.2
 07       Vauthy, Pierre                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1628 Saddlebrook Ct.                                       When was the debt incurred?
          Toledo, OH 43615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 70 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 90 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 08       Vend Lease Company Inc.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8100 Sandpiper Circle                                      When was the debt incurred?
          Suite 300
          Nottingham, MD 21236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Guaranty of Business Debt


 4.2
 09       Vigeo Gardens                                              Last 4 digits of account number                                                        $2,154.00
          Nonpriority Creditor's Name
          526 S Main St, Ste 311                                     When was the debt incurred?           9/1/17 - 9/12/18
          Akron, OH 44311
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.2
 10       Visit Indy                                                 Last 4 digits of account number       RED                                                    $0.00
          Nonpriority Creditor's Name
          200 South Capitol Avenue, Suite                            When was the debt incurred?           9/1/17 - 9/12/18
          300
          Indianapolis, IN 46225-1063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 71 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 91 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 11       Vital Recovery Services LLC                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 923747                                              When was the debt incurred?           9/1/17 - 9/12/18
          Peachtree Cors., GA 30010-3747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt


 4.2      Voyles Vaina Lukemeyer Baldwin &
 12       Webb                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3257 N Pennsylvania St                                     When was the debt incurred?           9/1/17 - 9/12/18
          Indianapolis, IN 46205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Indianapolis Debt


 4.2
 13       W.F. Hann & Sons                                           Last 4 digits of account number       3352                                               $326.00
          Nonpriority Creditor's Name
          26401 Miles Rd.                                            When was the debt incurred?           9/1/17 - 9/12/18
          Warrensville Heights, OH 44128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Services




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 72 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 92 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 14       Wallace Floral                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?           9/1/17 - 9/12/18
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution - Pittsburgh Debt


 4.2
 15       Westminster Technologies, LLC                              Last 4 digits of account number                                                          $847.80
          Nonpriority Creditor's Name
          1702 St Clair Ave                                          When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Merchandise


 4.2
 16       Yantra 119                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          119 Washington Ave.                                        When was the debt incurred?           9/1/17 - 9/12/18
          Maimi Beach, FL 33139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                          Listed for precaution - Red South Beach
              Yes                                                       Other. Specify    debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 73 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 93 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 17       YL Investments, LLC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Foxwood Lane                                             When was the debt incurred?
          Pepper Pike, OH 44124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution


 4.2
 18       Zashin & Rich                                              Last 4 digits of account number                                                        $2,405.20
          Nonpriority Creditor's Name
          55 Public Sq., 4th Flr.                                    When was the debt incurred?           9/1/17 - 9/12/18
          Cleveland, OH 44113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Legal Services


 4.2
 19       Zorebo Interactive                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?

          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 74 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                            Page 94 of 146
 Debtor 1 Brad H Friedlander                                                                             Case number (if known)

 4.2
 20        Zweig, Michael                                            Last 4 digits of account number                                                                      $0.00
           Nonpriority Creditor's Name
           30640 Stillwater Lane                                     When was the debt incurred?
           Solon, OH 44139
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify    Listed for precaution

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Beernick Lifson PA                                            Line 4.101 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 Suite 1200, The Colonnade                                                                                Part 2: Creditors with Nonpriority Unsecured Claims
 5500 Wayzata Blvd.
 Minneapolis, MN 55416
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Donald A. Mausar, Esq.                                        Line 4.11 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 Weltman, Weinberg & Reis Co., LPA                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
 323 W. Lakeside Avenue, Suite 200
 Cleveland, OH 44113
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Keri P. Ebeck, Esq.                                           Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Bernstein-Burkley, PC                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 2200 Gulf Tower
 Pittsburgh, PA 15219
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Laura Hauser, Esq.                                            Line 4.8 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 3713 Longwood Court                                                                                      Part 2: Creditors with Nonpriority Unsecured Claims
 Cleveland, OH 44118
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Nihon H. Nguyen, Esq.                                         Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 100 Arbor Oak Drive Suite 206                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
 PO Box 1958
 Ashland, VA 23005
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Ohio Department of Taxation                                   Line 2.1 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
 Attorney Gen Collect & Enforcement                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
 ATTN: Bankruptcy Staff
 150 E. Gay St. 21st Fl.
 Columbus, OH 43215
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 75 of 76
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           19-12300-aih                Doc 1           FILED 04/17/19                    ENTERED 04/17/19 13:55:13                              Page 95 of 146
 Debtor 1 Brad H Friedlander                                                                            Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                      0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                        6b.      $                      0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                      0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                      0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                      0.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                      0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                      0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                      0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $             2,981,222.58

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $             2,981,222.58




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 76 of 76
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          19-12300-aih                 Doc 1           FILED 04/17/19                ENTERED 04/17/19 13:55:13                           Page 96 of 146
 Fill in this information to identify your case:

 Debtor 1                  Brad H Friedlander
                           First Name                         Middle Name            Last Name

 Debtor 2
 (Spouse if, filing)       First Name                         Middle Name            Last Name


 United States Bankruptcy Court for the:               NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                   State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code

     2.1       BMW Financial Services                                                     Vehicle lease
               c/o AIS Portfolio Services LP                                              2019 BMW
               4515 N Santa Fe Ave. Dept. APS                                             36 mos. beginning 5/26/18
               Oklahoma City, OK 73118

     2.2       Infinity Financial Services                                                Vehicle Lease
               PO Box 660360                                                              2017 Infinity QX60
               Dallas, TX 75266-0360                                                      38 mos. beginning 12/4/17

     2.3       Vanguard Beachwood Apartments LLC                                          Apartment Lease
               The Aster                                                                  2/1/19 - 1/31/20
               3600 Park East
               Beachwood, OH 44122




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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              19-12300-aih               Doc 1           FILED 04/17/19         ENTERED 04/17/19 13:55:13                         Page 97 of 146
 Fill in this information to identify your case:

 Debtor 1                   Brad H Friedlander
                            First Name                           Middle Name       Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Bethany Friedlander                                                                  Schedule D, line   2.1
                20 Oakshore Drive                                                                    Schedule E/F, line
                Bratenahl, OH 44108
                                                                                                     Schedule G
                                                                                                   PNC Bank, NA



    3.2         BJRP, LLC                                                                            Schedule D, line
                3355 Richmond Road                                                                   Schedule E/F, line 4.9
                Beachwood, OH 44122
                                                                                                     Schedule G
                                                                                                   Advance American Business Solutions



    3.3         BJRP, LLC                                                                            Schedule D, line
                3355 Richmond Road                                                                   Schedule E/F, line 4.11
                Beachwood, OH 44122
                                                                                                     Schedule G
                                                                                                   Advance Merchant Finance, 1 LLC




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 3
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              19-12300-aih                 Doc 1          FILED 04/17/19        ENTERED 04/17/19 13:55:13                Page 98 of 146
 Debtor 1 Brad H Friedlander                                                           Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                        Column 2: The creditor to whom you owe the debt
                                                                                            Check all schedules that apply:
    3.4      BJRP, LLC                                                                        Schedule D, line
             3355 Richmond Road                                                               Schedule E/F, line     4.165
             Beachwood, OH 44122
                                                                                              Schedule G
                                                                                            Roulston, Chris



    3.5      BJRP, LLC                                                                        Schedule D, line
             3355 Richmond Road                                                               Schedule E/F, line     4.175
             Beachwood, OH 44122
                                                                                              Schedule G
                                                                                            SRC 917,LLC



    3.6      BJRP, LLC                                                                        Schedule D, line
             3355 Richmond Road                                                               Schedule E/F, line     4.199
             Beachwood, OH 44122
                                                                                              Schedule G
                                                                                            Tower IV, LLC



    3.7      Johnathan Bennett                                                                 Schedule D, line
             30201 Winsor Drive                                                                Schedule E/F, line  4.101
             Bay Village, OH 44140
                                                                                               Schedule G
                                                                                            Hitachi Capital America Corp.



    3.8      Jonathan Gross                                                                    Schedule D, line
             25151 Margot Court                                                                Schedule E/F, line  4.101
             Beachwood, OH 44122
                                                                                               Schedule G
                                                                                            Hitachi Capital America Corp.



    3.9      Jonathan Gross                                                                   Schedule D, line
             25151 Margot Court                                                               Schedule E/F, line 4.66
             Beachwood, OH 44122
                                                                                              Schedule G
                                                                                            Commercial Finance & Leasing



    3.10     Peter Vauthy                                                                      Schedule D, line
             120 Jefferson Street, #12022                                                      Schedule E/F, line  4.101
             Miami Beach, FL 33139
                                                                                               Schedule G
                                                                                            Hitachi Capital America Corp.



    3.11     Peter Vauthy                                                                     Schedule D, line
             120 Jefferson St. #12022                                                         Schedule E/F, line 4.66
             Miami Beach, FL 33139
                                                                                              Schedule G
                                                                                            Commercial Finance & Leasing




Official Form 106H                                                      Schedule H: Your Codebtors                                Page 2 of 3
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           19-12300-aih                Doc 1           FILED 04/17/19    ENTERED 04/17/19 13:55:13                 Page 99 of 146
 Debtor 1 Brad H Friedlander                                                          Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                       Column 2: The creditor to whom you owe the debt
                                                                                           Check all schedules that apply:
    3.12     Red Indianapolis, LLC                                                            Schedule D, line
             3355 Richmond Road                                                               Schedule E/F, line  4.101
             Beachwood, OH 44122
                                                                                              Schedule G
                                                                                           Hitachi Capital America Corp.



    3.13     Red Indianapolis, LLC                                                           Schedule D, line
             3355 Richmond Road                                                              Schedule E/F, line 4.66
             Beachwood, OH 44122
                                                                                             Schedule G
                                                                                           Commercial Finance & Leasing



    3.14     Red Restaurant Group, LLC                                                        Schedule D, line
             3355 Richmond Road                                                               Schedule E/F, line  4.101
             Beachwood, OH 44122
                                                                                              Schedule G
                                                                                           Hitachi Capital America Corp.



    3.15     Red Restaurant Group, LLC                                                       Schedule D, line
             3355 Richmond Road                                                              Schedule E/F, line    4.165
             Beachwood, OH 44122
                                                                                             Schedule G
                                                                                           Roulston, Chris



    3.16     Red Restaurant Partners, LLC                                                    Schedule D, line
             3355 Richmond Road                                                              Schedule E/F, line    4.175
             Beachwood, OH 44122
                                                                                             Schedule G
                                                                                           SRC 917,LLC



    3.17     Red South Beach, LLC                                                            Schedule D, line
             3355 Richmond Road                                                              Schedule E/F, line    4.165
             Beachwood, OH 44122
                                                                                             Schedule G
                                                                                           Roulston, Chris




Official Form 106H                                                     Schedule H: Your Codebtors                                Page 3 of 3
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         19-12300-aih                 Doc 1           FILED 04/17/19   ENTERED 04/17/19 13:55:13               Page 100 of 146
Fill in this information to identify your case:

Debtor 1                      Brad H Friedlander

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF OHIO

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
                                                                      Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            General Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Torre Rossa, LLC

       Occupation may include student        Employer's address
                                                                   3355 Richmond Road
       or homemaker, if it applies.
                                                                   Beachwood, OH 44122

                                             How long employed there?         5 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       13,846.16      $               N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$              N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     13,846.16            $        N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1

          19-12300-aih              Doc 1         FILED 04/17/19        ENTERED 04/17/19 13:55:13                        Page 101 of 146
Debtor 1   Brad H Friedlander                                                                    Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      13,846.16      $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $        4,313.52     $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $            0.00     $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $            0.00     $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $            0.00     $               N/A
     5e.    Insurance                                                                     5e.        $            0.00     $               N/A
     5f.    Domestic support obligations                                                  5f.        $            0.00     $               N/A
     5g.    Union dues                                                                    5g.        $            0.00     $               N/A
     5h.    Other deductions. Specify:                                                    5h.+       $            0.00 +   $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            4,313.52     $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $            9,532.64     $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $            0.00     $               N/A
     8d. Unemployment compensation                                                        8d.        $            0.00     $               N/A
     8e. Social Security                                                                  8e.        $        2,679.00     $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            2,679.00     $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              12,211.64 + $          N/A = $          12,211.64
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                  0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         12,211.64
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                     page 2

       19-12300-aih            Doc 1       FILED 04/17/19              ENTERED 04/17/19 13:55:13                           Page 102 of 146
Fill in this information to identify your case:

Debtor 1                 Brad H Friedlander                                                                  Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF OHIO                                                    MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for     Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............      Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                         No
      dependents names.                                                              Daughter                             23                   Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
                                                                                                                                               No
                                                                                                                                               Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                             2,316.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.    $                                 0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.    $                                 0.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.    $                                 0.00
      4d. Homeowner’s association or condominium dues                                                       4d.    $                                 0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                                 0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                              page 1


      19-12300-aih                Doc 1       FILED 04/17/19                       ENTERED 04/17/19 13:55:13                       Page 103 of 146
Debtor 1     Brad H Friedlander                                                                        Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                400.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                300.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                500.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,000.00
8.    Childcare and children’s education costs                                                 8. $                                               500.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               250.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                500.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 600.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                  200.00
      15c. Vehicle insurance                                                               15c. $                                                  200.00
      15d. Other insurance. Specify: Homeowners; Rental                                    15d. $                                                  250.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  595.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                   0.00
19.   Other payments you make to support others who do not live with you.                         $                                                500.00
      Specify: Daughter Credit Card                                                          19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                  985.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                  200.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                  100.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                  740.00
21.   Other: Specify:    Dog care, Vet. etc                                                  21. +$                                                300.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      10,886.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      10,886.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              12,211.64
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             10,886.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              1,325.64

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2


      19-12300-aih              Doc 1         FILED 04/17/19                 ENTERED 04/17/19 13:55:13                             Page 104 of 146
 Fill in this information to identify your case:

 Debtor 1                    Brad H Friedlander
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Brad H Friedlander                                                    X
              Brad H Friedlander                                                        Signature of Debtor 2
              Signature of Debtor 1

              Date       April 17, 2019                                                 Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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           19-12300-aih                   Doc 1       FILED 04/17/19           ENTERED 04/17/19 13:55:13                        Page 105 of 146
 Fill in this information to identify your case:

 Debtor 1                  Brad H Friedlander
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                              Dates Debtor 2
                                                                 lived there                                                                     lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                 Wages, commissions,                       $35,250.00           Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
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           19-12300-aih                 Doc 1         FILED 04/17/19               ENTERED 04/17/19 13:55:13                           Page 106 of 146
 Debtor 1      Brad H Friedlander                                                                          Case number (if known)



                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 For last calendar year:                              Wages, commissions,                      $121,845.00           Wages, commissions,
 (January 1 to December 31, 2018 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                       Operating a business                                           Operating a business


 For the calendar year before that:                   Wages, commissions,                      $105,600.00           Wages, commissions,
 (January 1 to December 31, 2017 )                                                                                 bonuses, tips
                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Social Security                                           $10,716.00
 the date you filed for bankruptcy:   Benefits

 For last calendar year:                           Social Security                              $24,111.00
 (January 1 to December 31, 2018 )                 Benefits


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                          No.      Go to line 7.
                          Yes    List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          No.      Go to line 7.
                          Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 2
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         19-12300-aih                 Doc 1           FILED 04/17/19               ENTERED 04/17/19 13:55:13                           Page 107 of 146
 Debtor 1      Brad H Friedlander                                                                          Case number (if known)



7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Colonial Funding Network, Inc. v.                         Contract                   Hanover County Circuit                      Pending
       Brad H Friedlander                                                                   Court                                       On appeal
       CL18-3169                                                                            7507 Library Drive
                                                                                                                                        Concluded
                                                                                            Hanover, VA 23069-0039

       Hitachi Capital America Corp. v.                          Contract                   District Court, Fourth                      Pending
       Red Restaurant Group, LLC, et al.                                                    Judicial District                           On appeal
                                                                                            Hennepin County, MN
                                                                                                                                        Concluded


       Advance Merchant Finance v.                               Contract                   Court of Common PLeas                       Pending
       Brad Friedlander, et al.                                                             Cuyahoga County, OH                         On appeal
       CV19912217
                                                                                                                                        Concluded



10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
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         19-12300-aih                 Doc 1           FILED 04/17/19               ENTERED 04/17/19 13:55:13                          Page 108 of 146
 Debtor 1      Brad H Friedlander                                                                          Case number (if known)



12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                 Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
            No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       D.O. Simon Company, LPA                                       Attorney Fees & Court Costs                              10/15/2018               $3,335.00
       55 Public Square, Suite 2100                                                                                           04/04/2019
       Cleveland, OH 44113-1902
       david@simonlpa.com




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4
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         19-12300-aih                 Doc 1           FILED 04/17/19               ENTERED 04/17/19 13:55:13                          Page 109 of 146
 Debtor 1      Brad H Friedlander                                                                          Case number (if known)



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment              Amount of
       Address                                                       transferred                                              or transfer was            payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you
       Monica Bern, Trustee                                          Residential Real Property                  $448,500.00                     MArch 15, 2019
       30076 Bolingbrook Road                                        30076 Bolingbrook Road
       Pepper Pike, OH 44124                                         Pepper Pike, OH 44124



19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
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         19-12300-aih                 Doc 1           FILED 04/17/19                 ENTERED 04/17/19 13:55:13                        Page 110 of 146
 Debtor 1      Brad H Friedlander                                                                               Case number (if known)



 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you     Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case               Status of the
       Case Number                                                   Name                                                                        case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 6
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         19-12300-aih                 Doc 1           FILED 04/17/19                  ENTERED 04/17/19 13:55:13                          Page 111 of 146
 Debtor 1      Brad H Friedlander                                                                          Case number (if known)



            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       BJRP, LLC                                                 Restaurant                                      EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      1/2004 - 12/2018
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       Red Restaurant Group, LLC                                 Holding Company                                 EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      1/2011 -
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       Red South Beach, LLC                                      Restaurant                                      EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      12/2008 - 2019
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       BJPM, LTD                                                 Holding Company                                 EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      12/2008 -
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       Red Rosso Boca Raton, LLC                                 Restaurant                                      EIN:         27-471343
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      2/2011 - 2019
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       811 Cleveland, LLC                                        Restaurant                                      EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      2/16 - 2019
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       Red Downtown, LLC                                         Restaurant                                      EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      11/2013 -
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       Red Indianapolis, LLC                                     Restaurant                                      EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      01/2017 - 2019
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143

       Red Pittsburgh, LLC                                       Restaurant                                      EIN:         XX-XXXXXXX
       3355 Richmond Road
       Beachwood, OH 44122                                       Skoda Minotti                                   From-To      1/2017 - 2019
                                                                 6685 Beta Drive
                                                                 Mayfield Village, OH 44143



Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 7
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         19-12300-aih                 Doc 1           FILED 04/17/19               ENTERED 04/17/19 13:55:13                             Page 112 of 146
 Debtor 1      Brad H Friedlander                                                                          Case number (if known)



28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                     Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Brad H Friedlander
 Brad H Friedlander                                                      Signature of Debtor 2
 Signature of Debtor 1

 Date      April 17, 2019                                                Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 8
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          19-12300-aih                 Doc 1          FILED 04/17/19               ENTERED 04/17/19 13:55:13                        Page 113 of 146
 Fill in this information to identify your case:

 Debtor 1                 Brad H Friedlander
                          First Name                        Middle Name              Last Name

 Debtor 2
 (Spouse if, filing)      First Name                        Middle Name              Last Name


 United States Bankruptcy Court for the:              NORTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                                       Check if this is an
                                                                                                                                  amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                                     12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         PNC Bank, NA                                         Surrender the property.                              No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a                 Yes
    Description of 20 Oakshore Dr., #3 Bratenahl,                           Reaffirmation Agreement.
    property       OH 44108 Cuyahoga County                                 Retain the property and [explain]:
    securing debt: PPN 631-09-321                                          Retain and continue to make regular
                                                                          payments

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                       Will the lease be assumed?

 Lessor's name:               BMW Financial Services                                                                       No

                                                                                                                           Yes

 Description of leased        Vehicle lease
 Property:                    2019 BMW
                              36 mos. beginning 5/26/18


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                   page 1

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           19-12300-aih                Doc 1          FILED 04/17/19            ENTERED 04/17/19 13:55:13                 Page 114 of 146
 Debtor 1      Brad H Friedlander                                                                    Case number (if known)



 Lessor's name:               Infinity Financial Services                                                                     No

                                                                                                                              Yes

 Description of leased        Vehicle Lease
 Property:                    2017 Infinity QX60
                              38 mos. beginning 12/4/17


 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Brad H Friedlander                                                       X
       Brad H Friedlander                                                               Signature of Debtor 2
       Signature of Debtor 1

       Date        April 17, 2019                                                   Date




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                             page 2

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           19-12300-aih               Doc 1           FILED 04/17/19            ENTERED 04/17/19 13:55:13                     Page 115 of 146
 Fill in this information to identify your case:                                                   Check one box only as directed in this form and in Form
                                                                                                   122A-1Supp:
 Debtor 1              Brad H Friedlander
 Debtor 2                                                                                                  1. There is no presumption of abuse
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of Ohio                              2. The calculation to determine if a presumption of abuse
                                                                                                               applies will be made under Chapter 7 Means Test
                                                                                                               Calculation (Official Form 122A-2).
 Case number
 (if known)
                                                                                                           3. The Means Test does not apply now because of
                                                                                                               qualified military service but it could apply later.
                                                                                                           Check if this is an amended filing
Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income                                                                                                                    12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
case number (if known). If you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:           Calculate Your Current Monthly Income

  1. What is your marital and filing status? Check one only.
              Not married. Fill out Column A, lines 2-11.
              Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
              Married and your spouse is NOT filing with you. You and your spouse are:
                 Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
                 Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                 penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                 living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7)(B).
    Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
    101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
    the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
    spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A                   Column B
                                                                                                       Debtor 1                   Debtor 2 or
                                                                                                                                  non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                               $                                         $
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                             $                                         $
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Include regular contributions from a spouse only if Column B is not
     filled in. Do not include payments you listed on line 3.                           $                                         $
  5. Net income from operating a business, profession, or farm
                                                                       Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from a business, profession, or farm $                     Copy here -> $                              $
  6. Net income from rental and other real property
                                                                                 Debtor 1
        Gross receipts (before all deductions)                           $
        Ordinary and necessary operating expenses                        -$
        Net monthly income from rental or other real property            $            Copy here -> $                              $
                                                                                                       $                          $
  7. Interest, dividends, and royalties




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                     page 1
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           19-12300-aih               Doc 1           FILED 04/17/19            ENTERED 04/17/19 13:55:13                              Page 116 of 146
 Debtor 1     Brad H Friedlander                                                                      Case number (if known)



                                                                                                  Column A                     Column B
                                                                                                  Debtor 1                     Debtor 2 or
                                                                                                                               non-filing spouse
  8. Unemployment compensation                                                           $                                     $
     Do not enter the amount if you contend that the amount received was a benefit under
     the Social Security Act. Instead, list it here:
        For you                                          $
            For your spouse                                          $
  9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act.                                                      $                            $
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act or payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism. If necessary, list other sources on a separate page and put the
      total below.
             .                                                                                    $                            $
                                                                                                  $                            $
                  Total amounts from separate pages, if any.                                  +   $                            $

  11. Calculate your total current monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.             $                        +   $                   =   $

                                                                                                                                               Total current monthly
                                                                                                                                               income

 Part 2:        Determine Whether the Means Test Applies to You

  12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                             Copy line 11 here=>            $


              Multiply by 12 (the number of months in a year)                                                                                      x 12
       12b. The result is your annual income for this part of the form                                                               12b. $


  13. Calculate the median family income that applies to you. Follow these steps:
       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.   $
       To find a list of applicable median income amounts, go online using the link specified in the separate instructions
       for this form. This list may also be available at the bankruptcy clerk’s office.
  14. How do the lines compare?
       14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                      Go to Part 3.
       14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A-2.
 Part 3:        Sign Below
              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.

             X /s/ Brad H Friedlander
                Brad H Friedlander
                Signature of Debtor 1
        Date April 17, 2019
             MM / DD / YYYY
              If you checked line 14a, do NOT fill out or file Form 122A-2.
              If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                                      Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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            19-12300-aih              Doc 1           FILED 04/17/19          ENTERED 04/17/19 13:55:13                            Page 117 of 146
 Fill in this information to identify your case:

 Debtor 1            Brad H Friedlander

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the:            Northern District of Ohio

 Case number                                                                                       Check if this is an amended filing
 (if known)



Official Form 122A - 1Supp
Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                                                                      12/15

File this supplement together with Chapter 7 Statement of Your Current Monthly Income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. If two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 If you believe that this is
required by 11 U.S.C. § 707(b)(2)(C).

 Part 1:         Identify the Kind of Debts You Have

  1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an individual primarily for a
     personal, family, or household purpose." Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for
     Individuals Filing for Bankruptcy (Official Form 1).

           No. Go to Form 122A-1; on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then submit this
               supplement with the signed Form 122A-1.
           Yes. Go to Part 2.


 Part 2:         Determine Whether Military Service Provisions Apply to You

  2. Are you a disabled veteran (as defined in 38 U.S.C. § 3741(1))?
           No. Go to line 3.
           Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?
                10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Go to line 3.
                  Yes.    Go to Form 122A-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then
                          submit this supplement with the signed Form 122A-1.

  3. Are you or have you been a Reservist or member of the National Guard?
           No.     Complete Form 122A-1. Do not submit this supplement.
           Yes.    Were you called to active duty or did you perform a homeland defense activity? 10 U.S.C. § 101(d)(1); 32 U.S.C. § 901(1).
                  No.     Complete Form 122A-1. Do not submit this supplement.
                  Yes.    Check any one of the following categories that applies:
                                                                                             If you checked one of the categories to the left, go to Form
                          I was called to active duty after September 11, 2001, for at least 122A-1. On the top of page 1 of Form 122A-1, check box 3,
                          90 days and remain on active duty.                                 The Means Test does not apply now, and sign Part 3. Then
                                                                                             submit this supplement with the signed Form 122A-1. You
                          I was called to active duty after September 11, 2001, for at least are not required to fill out the rest of Official Form 122A-1
                          90 days and was released from active duty on                     , during the exclusion period. The exclusion period means
                          which is fewer than 540 days before I file this bankruptcy case.   the time you are on active duty or are performing a
                                                                                             homeland defense activity, and for 540 days afterward. 11
                          I am performing a homeland defense activity for at least 90 days. U.S.C. § 707(b)(2)(D)(ii).

                          I performed a homeland defense activity for at least 90 days,
                                                                                                If your exclusion period ends before your case is closed,
                          ending on                  , which is fewer than 540 days before I
                                                                                                you may have to file an amended form later.
                          file this bankruptcy case.




Official Form 122A-1Supp                       Statement of Exemption from Presumption of Abuse Under § 707(b)(2)                                  page 1
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         19-12300-aih                 Doc 1           FILED 04/17/19            ENTERED 04/17/19 13:55:13                   Page 118 of 146
Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $75   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $335      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their nonexempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
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         19-12300-aih                 Doc 1           FILED 04/17/19        ENTERED 04/17/19 13:55:13                    Page 119 of 146
        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $550    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,717    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
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         19-12300-aih                 Doc 1           FILED 04/17/19        ENTERED 04/17/19 13:55:13                        Page 120 of 146
        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200        filing fee                                                 years or 5 years, depending on your income and other
 +                  $75        administrative fee                                         factors.
                   $275        total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235        filing fee                                                        debts for fraud or defalcation while acting in a
 +                  $75        administrative fee                                                fiduciary capacity,
                   $310        total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
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         19-12300-aih                 Doc 1           FILED 04/17/19        ENTERED 04/17/19 13:55:13                   Page 121 of 146
                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/bkforms/bankruptcy_form                                          agency. 11 U.S.C. § 109(h). If you are filing a joint
 s.html#procedure.                                                                        case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
                                                                                          days before you file your bankruptcy petition. This
 Bankruptcy crimes have serious consequences                                              briefing is usually conducted by telephone or on the
                                                                                          Internet.
        If you knowingly and fraudulently conceal assets
        or make a false oath or statement under penalty                                   In addition, after filing a bankruptcy case, you generally
        of perjury—either orally or in writing—in                                         must complete a financial management instructional
        connection with a bankruptcy case, you may be                                     course before you can receive a discharge. If you are
        fined, imprisoned, or both.                                                       filing a joint case, both spouses must complete the
                                                                                          course.
        All information you supply in connection with a
        bankruptcy case is subject to examination by the                                  You can obtain the list of agencies approved to provide
        Attorney General acting through the Office of the                                 both the briefing and the instructional course from:
        U.S. Trustee, the Office of the U.S. Attorney, and                                http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html
        other offices and employees of the U.S.                                           .
        Department of Justice.
                                                                                          In Alabama and North Carolina, go to:
 Make sure the court has your mailing address                                             http://www.uscourts.gov/FederalCourts/Bankruptcy/
                                                                                          BankruptcyResources/ApprovedCredit
 The bankruptcy court sends notices to the mailing                                        AndDebtCounselors.aspx.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
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         19-12300-aih                 Doc 1           FILED 04/17/19        ENTERED 04/17/19 13:55:13                   Page 122 of 146
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re       Brad H Friedlander                                                                               Case No.
                                                                                Debtor(s)                     Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     3,000.00
             Prior to the filing of this statement I have received                                        $                     3,000.00
             Balance Due                                                                                  $                         0.00

2.     $    335.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
               any other adversary proceeding.
                                                                         CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     April 17, 2019                                                            /s/ David O. Simon
     Date                                                                      David O. Simon #0006050
                                                                               Signature of Attorney
                                                                               D.O. Simon Company, LPA
                                                                               55 Public Square, Suite 2100
                                                                               Cleveland, OH 44113-1902
                                                                               (216) 621-6201 Fax: (888) 467-4181
                                                                               david@simonlpa.com
                                                                               Name of law firm




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           19-12300-aih               Doc 1           FILED 04/17/19         ENTERED 04/17/19 13:55:13                      Page 123 of 146
                                                               United States Bankruptcy Court
                                                                     Northern District of Ohio
 In re      Brad H Friedlander                                                                   Case No.
                                                                                 Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.



 Date: April 17, 2019                                                 /s/ Brad H Friedlander
                                                                      Brad H Friedlander
                                                                      Signature of Debtor




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         19-12300-aih                 Doc 1           FILED 04/17/19          ENTERED 04/17/19 13:55:13     Page 124 of 146
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o
A
s
M
a
x




                           5 Star Refrigeration
                           PO Box 263
                           2502 Wildwood Rd
                           Wildwood, PA 15091


                           600 GS Prop LP
                           DEPT CGS-40
                           PO BOX 558
                           WAYNE, NJ 07474-9803


                           A. Martini & Co.
                           Verona, PA 15147



                           Abco
                           P O Box 931933
                           Cleveland, OH 44193


                           Accubar
                           1301 Dove Street, Ste 300
                           Newport Beach, CA 92660


                           Acendex, Inc.
                           Commerce Park V
                           23250 Chagrin Blvd., #200
                           Cleveland, OH 44122


                           Adcom
                           1370 W 6th St 3rd Floor
                           Cleveland, OH 44113


                           Adcom Group, Inc.
                           1370 W 6th St Suite 300
                           Cleveland, OH 44113


                           Advance American Business Solutions
                           120 West 45th St. 4th Floor
                           New York, NY 10036


                           Advance Merchant Finance , LLC
                           433 N Camden D., Ste 810
                           Beverly Hills, CA 90




    19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 125 of 146
                       Advance Merchant Finance, 1 LLC
                       950 Pacific Ave., Suite 1050
                       Tacoma, WA 98401-2315


                       Advantage Water Cond Inc
                       5348 Victory Dr Ste B
                       Indianapolis, IN 46203


                       Adventure Chrysler Jeep
                       36845 Euclid Avenue
                       Willoughby, OH 44094


                       Airways Cleaning & Fireproofing Co., Inc
                       4720 Oakes Rd. Suite E
                       Davie, FL 33314


                       Albert Uster Imports, Inc.
                       P O Box 79107
                       Baltimore, MD 21279-0107


                       Alsco
                       1415 NW 21st Terrace
                       Miami, FL 33142


                       American Express
                       PO Box 1270
                       Newark, NJ 07101-1270


                       American Express Bank
                       c/o: Datamark Inc.
                       43 Butterfield Circle
                       El Paso, TX 79906


                       Amur Equipment Finance
                       PO Box 2555
                       308 N. Locust St. Suiute 100
                       Grand Island, NE 68801


                       Anson Mills
                       PO Box 50408
                       Columbia, SC 29250




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 126 of 146
                       Asia International, Inc.
                       Account Receivable & Payable
                       555 Parkcenter Drive Suite 110
                       Santa Ana, CA 92705


                       ASV Services
                       27801 Euclid Ave.
                       Ste #420
                       Euclid, OH 44132


                       AT&T
                       PO Box 5014
                       Carol Stream, IL 60197-5014


                       AV Designers
                       8742 Robbins Road
                       Indianapolis, IN 46268


                       Banner Life
                       PO Box 740526
                       Atlanta, GA 30374-0526


                       Bar Harbor Seafood
                       2000 Premier Row
                       Orlando, FL 32809


                       Barclays
                       PO Box 13337
                       Philadelphia, PA 19101-3337


                       Bass Security
                       P O Box 901805
                       Cleveland, OH 44190-1805


                       Bassichis Real Estate Profit
                       Sharing Plan and Trust
                       1421 St. Clair Ave.
                       Cleveland, OH 44114


                       Beachwood Chamber of Commerce
                       24000 Mercantile Rd, Ste 3
                       Beachwood, OH 44122




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 127 of 146
                       Beck, William
                       451 E. Market St. #427
                       Indianapolis, IN 46204


                       Beernick Lifson PA
                       Suite 1200, The Colonnade
                       5500 Wayzata Blvd.
                       Minneapolis, MN 55416


                       Bemka House of Caviar
                       2801 SW 3rd Avenue
                       Ste F11A
                       Ft. Lauderdale, FL 33315


                       Berger, Gayle
                       3535 Rolling Hills Drive
                       Pepper Pike, OH 44124


                       Best Kitchen



                       Bethany Friedlander
                       20 Oakshore Drive
                       Bratenahl, OH 44108


                       Better Business Funding
                       2010 Jimmy Durante Blvd. #224
                       Del Mar, CA 92014


                       BJRP, LLC
                       3355 Richmond Road
                       Beachwood, OH 44122


                       BlRibbon
                       P O Box 932074
                       Cleveland, OH 44193


                       Blue Island Oyster Co.
                       PO Box 31
                       West Sayville, NY 11796


                       Blue Technologies
                       PO Box 31475
                       Independence, OH 44131




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 128 of 146
                       BMW Financial Services
                       c/o AIS Portfolio Services LP
                       4515 N Santa Fe Ave. Dept. APS
                       Oklahoma City, OK 73118


                       Bouterse
                       26001 Miles Rd., Studio #7
                       Warrensville Hts., OH 44128


                       Breakthru Beverage Group
                       Premier Beverage Company
                       PO Box 820410
                       South Florida, FL 33082


                       Brown Distributing



                       Buckingham, Doolittle & Burroughs, LLC
                       3800 Embassy Parkway
                       Suite 300
                       Akron, OH 44333


                       BWC State Ins. Fund
                       Corporate Processing Dept.
                       Columbus, OH 43271-0977


                       C.A. Curtze
                       1717 E 12th St
                       PO Box 797
                       Erie, PA 16512


                       Caltronics National
                       2490 Greentree Road
                       Carnegie, PA 15106


                       Capri Westfield Farm Inc
                       28 Worcester Road
                       Hubbardston, MA 01452


                       Catanese Classic
                       1600 Merwin Avenue
                       Cleveland, OH 44113




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 129 of 146
                       Catanese Classic
                       1600 Merwin Ave
                       Cleveland, OH 44113


                       Caterease
                       Management Software
                       PO Box 7459
                       Naples, FL 34101


                       CCT Financial
                       P.O. Box 41602
                       Philadelphia, PA 19101-1601


                       Chase
                       PO Box 15123
                       Wilmington, DE 19850-5123


                       Chef Dave's Catering
                       2396 Bromley Road
                       University Hts, OH 44118


                       Chef2Chef
                       1600 Merwin Ave.
                       Cleveland, OH 44113


                       CIT
                       21146 Network Place
                       Chicago, IL 60673-1211


                       CIT Technologies DNU
                       21146 Network Place
                       Chicago, IL 60673-1211


                       Citation Collections Services
                       PO BOX 80239
                       INDIANAPOLIS, IN 46280-0239


                       CitiBusiness Card
                       PO Box 790046
                       Saint Louis, MO 63179-0046


                       Clerk of Court
                       Court of Common Pleas, Cuyahoga Cty
                       1200 Ontario Street
                       Cleveland, OH 44113



19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 130 of 146
                       Cleveland Jewish News
                       23880 Commerce Pk., #1
                       Beachwood, OH 44122


                       Cleveland Scene
                       737 Bolivar Rd Ste 4100
                       Cleveland, OH 44115


                       Coca-Cola
                       PO Box 602937
                       Charlotte, NC 28260-2937


                       Comcast
                       PO Box 3001
                       Southeastern, PA 19398-3001


                       Commercial Finance & Leasing
                       23282 Mill Creek Drive
                       Suite 360
                       Laguna Hills, CA 92653


                       Concierge Connect
                       3370 190th St., #1712
                       Aventura, FL 33180


                       Contemporary Restaurant Appliances, Inc.
                       3654 NW 85th Terrace
                       Pembroke Pines, FL 33024


                       Coyle Hospitality Services
                       244 Madison Avenue
                       Suite 369
                       New York, NY 10016


                       Creation Gardens
                       2055 Nelson Miller Parkway
                       Louisville, KY 40233


                       Culinary Convenience
                       2212 S. Andrews Ave. Suite 1
                       Fort Lauderdale., FL 33316


                       CVEC
                       P O Box 146
                       Chagrin Falls, OH 44022



19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 131 of 146
                       Cy's Linen Service
                       510 West 28th Street
                       Hialeah, FL 33010


                       D'Artagnan
                       PO Box 447
                       Union, NJ 07083-0447


                       Darling Intn'l Inc.
                       P O Box 552210
                       Detroit, MI 48255-2210


                       Dean Supply
                       3500 Woodland Ave
                       Cleveland, OH 44115-3421


                       Donald A. Mausar, Esq.
                       Weltman, Weinberg & Reis Co., LPA
                       323 W. Lakeside Avenue, Suite 200
                       Cleveland, OH 44113


                       Double Park
                       1717 N. Bay Shore Drive
                       Suite 250
                       Miami, FL 33132


                       Eagle Brand Sales



                       Ecolab Pest Control
                       26252 Network Place
                       Chicago, IL 60673-1262


                       Ecolab Pest Elimination
                       26252 Network Place
                       Chicago, IL 60673-1262


                       Edward Don & Company
                       2562 Paysphere Circle
                       Chicago, IL 60674


                       EGB Industries, LLC
                       2 Valley Ridge Farm
                       Hunting Valley, OH 44022




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 132 of 146
                       Electrical Appliance
                       5805 Valley Belt Road
                       Cleveland, OH 44131


                       Equity Planning, Inc
                       3355 Richmond Road
                       Beachwood, OH 44122


                       Espresso Solutions
                       PO Box 30672
                       Indianapolis, IN 46220-1990


                       Euro USA
                       PO Box 536702
                       Pittsburgh, PA 15253-5909


                       Event Source
                       PO Box 92957
                       Cleveland, OH 44194-2957


                       Fast Signs - CLE
                       5369 Mayfield Road
                       Lyndhurst, OH 44124


                       Fed Ex
                       P O Box 371461
                       Pittsburgh, PA 15250-7461


                       First Rate Service
                       P O Box 26325
                       Fairview Park, OH 44126


                       FMC Specialized Cleaning
                       PO Box 299
                       Scottdale, PA 15683


                       Fortessa
                       20412 Bashan Dr
                       Ashburn, VA 20147


                       Fresca Italia Inc
                       107 Park Lane
                       Brisbane, CA 94005




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 133 of 146
                       Goldstar Management LLC
                       18 Woods Edge Ct
                       Pittsboro, IN 46167


                       Gurkha Cigar Group
                       c/o City National Bank
                       P.O. Box 12499
                       Miami, FL 33101-2499


                       H Jacks Plumbing
                       29930 Lakeland Blvd
                       Wickliffe, OH 44092


                       Halperns
                       PO Box 116421
                       Atlanta, GA 30368-6421


                       Hanmi Bank
                       PO Box 3892
                       Seattle, WA 98124-3892


                       Hartford



                       Helget Gas Products
                       P O Box 24246
                       Omaha, NE 68124-0246


                       Hitachi Capital America Corp.
                       7808 Creekridge Circle
                       Suite 250
                       Minneapolis, MN 55439


                       Hotel Indigo
                       3581 Park East Dr
                       Beachwood, OH 44122


                       Hubbard & Cravens
                       1114 E 52nd St
                       Indianapolis, IN 46205


                       Huntington Technology Finance
                       PO Box 2017
                       Bloomfield Hills, MI 48303-2017




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 134 of 146
                       Illuminating - 669
                       PO Box 3638
                       Akron, OH 44309-3638


                       Illuminating - 715
                       P O Box 3638
                       Akron, OH 44309-3638


                       Illuminating - 785
                       PO Box 3638
                       Akron, OH 44309-3638


                       Indiana Chamber of Commerce



                       Indianapolis Monthly
                       Dept 78942
                       PO Box 78000
                       Detroit, MI 48278-0942


                       Infinity Financial Services
                       PO Box 660360
                       Dallas, TX 75266-0360


                       ISF Signs



                       JC Ehrlich
                       PO Box 13848
                       Reading, PA 19612-3848


                       JDL Real Estate Ventures, LLC
                       7258 North State Road 39
                       Lizton, IN 46149


                       Johnathan Bennett
                       30201 Winsor Drive
                       Bay Village, OH 44140


                       Jonathan Gross
                       25151 Margot Court
                       Beachwood, OH 44122




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 135 of 146
                       JP Parker Flowers
                       801 S. Meridian
                       Indianapolis, IN 46225


                       JumpStart Inc.
                       6701 Carnegie Ave, Ste 100
                       Cleveland, OH 44103


                       Just Kleen It



                       Kantina
                       Geller Hillel Building CWRU
                       11303 Euclid Ave.
                       Cleveland, OH 44106


                       Keri P. Ebeck, Esq.
                       Bernstein-Burkley, PC
                       Suite 2200 Gulf Tower
                       Pittsburgh, PA 15219


                       Killbuck
                       7927 Overton Road
                       Burbank, OH 44214


                       Kolano Design
                       6026 Centre Ave
                       Pittsburgh, PA 15206-3784


                       Kutak Rock, LLP
                       ATTN: Peter J. Barrett
                       901 East Byrd Street, Suite 1000
                       Richmond, VA 23219-4071


                       Lariviere Parking System LLC
                       304 Indian Trace Ste 448
                       Weston, FL 33326


                       Laura Hauser, Esq.
                       3713 Longwood Court
                       Cleveland, OH 44118


                       Lugaila Mechanical Inc
                       1 Rutgers Rd
                       Pittsburgh, PA 15205



19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 136 of 146
                       Manion Plumbing, Inc
                       19 Cooper Road
                       Venetia, PA 15367


                       Marky's
                       1000 NW 159th Drive
                       Miami, FL 33169


                       Mattlin
                       7321 Shelford Drive
                       Solon, OH 44139


                       Mehta, Jaimini



                       Meritech
                       4577 Hincklely Indus. Pkwy.
                       Cleveland, OH 44109-6009


                       Miami Beach Camber of Commerce
                       1920 Meridian Ave, 3rd Fl.
                       Miami Beach, FL 33139


                       Mikuni
                       18818 13th Place South
                       Seatac, WA 98148


                       Minotti, Michael
                       6685 Beta Drive
                       Mayfield Village, OH 44143


                       MOOD
                       P O Box 602777
                       Charlotte, NC 28260-2777


                       Morgan
                       201 E Lincoln St
                       Indianapolis, IN 46225


                       Morgan Services
                       2013 Columbus Rd
                       Cleveland, OH 44113-3516




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 137 of 146
                       Mowery
                       710 E Main St
                       Brownsburg, IN 46112


                       Napier Florida Development, LLC
                       6494 Friarsgate Drive NW
                       Canton, OH 44718


                       Napier, William
                       3968 Cobworth Ct.
                       Uniontown, OH 44685


                       Neofunds Postage
                       P O Box 30193
                       Tampa, FL 33630-3193


                       Nihon H. Nguyen, Esq.
                       100 Arbor Oak Drive Suite 206
                       PO Box 1958
                       Ashland, VA 23005


                       Nou-veau Bistro
                       7590 Fredle Dr
                       Concord, OH 44077


                       Oakley, Charles
                       16897 Northvale Blvd.
                       East Cleveland, OH 44112


                       Oasis Window Cleaning
                       P.O. Box 16727
                       Rocky River, OH 44116


                       Ohio Department of Taxation
                       ATTN: Bankruptcy Division
                       PO Box 530
                       Columbus, OH 43216-0530


                       Ohio Department of Taxation
                       Attorney Gen Collect & Enforcement
                       ATTN: Bankruptcy Staff
                       150 E. Gay St. 21st Fl.
                       Columbus, OH 43215




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 138 of 146
                       Ohio Dept of Commerce
                       Ohio Division of Liquor Control
                       6606 Tussing Road
                       Reynoldsburg, OH 43068-9005


                       One View Communications Inc.
                       8870 Darrow Rd #130
                       Twinsburg, OH 44087


                       Oracle America
                       PO Box 203448
                       Dallas, TX 75320-3448


                       Oracle America
                       PO Box 44471
                       San Francisco, CA 94144-4471


                       Orlando Baking
                       7777 Grand Avenue
                       Cleveland, OH 44104-3099


                       Packo, David
                       4535 Dressler Road NW
                       Canton, OH 44718


                       Paragon
                       PO Box 645423
                       Pittsburgh, PA 15264


                       Park Street Import
                       1000 Brickell Ave, Ste 915
                       Miami, FL 33131


                       PCG Computers, Inc.
                       Commerce Park Five
                       23250 Chagrin Blvd., #200
                       Cleveland, OH 44122


                       Peoples United Bank NA
                       PO Box 644760
                       Pittsburgh, PA 15264-4760


                       Perfect Solution Landscaping
                       32099 Gates Mills Blvd
                       Pepper Pike, OH 44124



19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 139 of 146
                       Peter Vauthy
                       120 Jefferson Street, #12022
                       Miami Beach, FL 33139


                       Peter Vauthy
                       120 Jefferson St. #12022
                       Miami Beach, FL 33139


                       Piazza Produce
                       PO Box 68931
                       Indianapolis, IN 46268-0931


                       Pittsburgh Magazine
                       PO Box 644572
                       Pittsburgh, PA 15264-4572


                       Pittsburgh Penguins
                       PPG Paints Arena
                       1001 Fifth Ave
                       Pittsburgh, PA 15219


                       Pivot Marketing
                       646 Virginia Avenue
                       Indianapolis, IN 46203


                       PNC Bank, NA
                       3232 Newmark Drive
                       Miamisburg, OH 45342


                       Premier Produce
                       4500 Willow Pkwy
                       Cuyahoga Falls, OH 44125


                       Prime Line Distributors
                       2800 SW 42nd St
                       Fort Lauderdale, FL 33312


                       Principal Financial Group
                       Grand Island
                       PO BOX 14513
                       Des Moines, IA 50306-3513




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 140 of 146
                       Principal Life
                       Group, Grand Island
                       P O Box 14513
                       Des Moines, IA 50306-3513


                       Prographic Systems
                       13000 S. Tryon St., #F-277
                       Charlotte, NC 28278


                       Red Indianapolis, LLC
                       3355 Richmond Road
                       Beachwood, OH 44122


                       Red Restaurant Group, LLC
                       3355 Richmond Road
                       Beachwood, OH 44122


                       Red Restaurant Partners, LLC
                       3355 Richmond Road
                       Beachwood, OH 44122


                       Red South Beach, LLC
                       3355 Richmond Road
                       Beachwood, OH 44122


                       Regional Income Tax Agency
                       P.O. Box 94951
                       Cleveland, OH 44101-4951


                       Republic National
                       441 se 12th ave
                       Deerfield Beach, FL 33442


                       Responsible Vendors
                       PO Box 69-2982
                       Miami, FL 33269


                       Roca Farms



                       Roto Rooter
                       5672 Collections Ctr. Drive
                       Chicago, IL 60693




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 141 of 146
                       Roulston, Chris
                       3950 Waterford Ct.
                       Orange Village, OH 44122


                       Royal Cup Coffee
                       PO Box 206011
                       Dallas, TX 75320-6011


                       Sani Products Pest Control
                       842 East Ohio Street
                       Pittsburgh, PA 15212


                       Shred-it
                       23166 Network Place
                       Chicago, IL 60673-1252


                       Shutts and Bowen
                       200 South Biscayne Blvd
                       Sutie 4100
                       Miami, FL 33131


                       Skoda,Minotti
                       6685 Beta Drive
                       Mayfield Village, OH 44143


                       Sky Builders
                       2735 Sinton Place
                       Pepper Pike, OH 44124


                       Solstice
                       2333 St. Clair Ave.
                       Cleveland, OH 44114


                       Southern Florida Concierge
                       P.O. Box 630366
                       Miami, FL 33163


                       Southern Glazers
                       4224 S. Florida Ave.
                       Lakeland, FL 33813


                       SRC 917,LLC
                       c/o Corine Shelley
                       10 Venetian Way #2306
                       Miami Beach, FL 33139



19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 142 of 146
                       Staples
                       PO Box 105638
                       Atlanta, GA 30348-5638


                       Staples Advantage
                       PO Box 105638
                       Atlanta, GA 30348-5638


                       State Cleaning Solutions
                       PO BOX 77012
                       Cleveland, OH 44194-7012


                       Steel City Traps
                       3608 Spring Garden Rd
                       Pittsburgh, PA 15212


                       Strassman Insurance
                       26351 Curtiss-Wright Pkwy.
                       Richmond Heights, OH 44143


                       Sunbelt Rentals
                       P.O. Box 409211
                       Atlanta, GA 30384-9211


                       Sutton-Garten Company
                       901 North Senate Ave
                       Indianapolis, IN 46202-3029


                       Synchrony Bank/Care Credit
                       PO Box 960061
                       Orlando, FL 32896-0061


                       Sysco
                       4000 W 62nd St
                       Indianapolis, IN 46268


                       Sysco
                       PO Box 1000
                       Harmony, PA 16037-1000


                       Sysco Food
                       P O Box 94570
                       Cleveland, OH 44101-9804




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 143 of 146
                       Sysco Food Services - South FL
                       PO Box 64000 - A
                       Miami, FL 33164


                       Team 360
                       51 Koweba Lane
                       Indianapolis, IN 46201


                       Team Clean PGH
                       240 Executive Dr.
                       PO BOX 1499
                       Cranberry Twp, PA 16066


                       TECO
                       PO Box 31017
                       Tampa, FL 33631


                       The Art of Clean Inc
                       5602 Elmwood Ave, Ste 218
                       Indianapolis, IN 46203


                       The Chef Agency
                       275 Madison Avenue
                       24th Floor
                       New York, NY 10016


                       The Chef's Warehouse of Florida
                       PO Box 32187
                       New York, NY 10087-2187


                       The CitiView Publications
                       PO Box 447
                       Floyds Knobs, IN 47119


                       Thunder Tech
                       3635 Perkins Ave
                       Cleveland, OH 44114


                       Total Line Refrigeration
                       33530 Pin Oak Parkway
                       Avon Lake, OH 44012


                       Tower IV, LLC
                       6140 Parkland Blvd. Suite 300
                       Mayfield Hts., OH 44124



19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 144 of 146
                       TriMark SS-Kemp
                       PO Box 536326
                       Pittsburgh, PA 15253-5905


                       U.S. Bank
                       PO Box 790448
                       St. Louis, MO 63179-0448


                       United Air Specialists, Inc
                       PO Box 409825
                       Atlanta, GA 30384-9825


                       United Health Care
                       PO Box 94017
                       Palatine, IL 60094-4017


                       Urban Farms



                       Vacmaster



                       Vanco
                       8025 Castleway Drive
                       Indianapolis, IN 46250


                       Vauthy, Pierre
                       1628 Saddlebrook Ct.
                       Toledo, OH 43615


                       Vend Lease Company Inc.
                       8100 Sandpiper Circle
                       Suite 300
                       Nottingham, MD 21236


                       Vigeo Gardens
                       526 S Main St, Ste 311
                       Akron, OH 44311


                       Visit Indy
                       200 South Capitol Avenue, Suite 300
                       Indianapolis, IN 46225-1063




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 145 of 146
                       Vital Recovery Services LLC
                       PO Box 923747
                       Peachtree Cors., GA 30010-3747


                       Voyles Vaina Lukemeyer Baldwin & Webb
                       3257 N Pennsylvania St
                       Indianapolis, IN 46205


                       W.F. Hann & Sons
                       26401 Miles Rd.
                       Warrensville Heights, OH 44128


                       Wallace Floral



                       Westminster Technologies, LLC
                       1702 St Clair Ave
                       Cleveland, OH 44114


                       Yantra 119
                       119 Washington Ave.
                       Maimi Beach, FL 33139


                       YL Investments, LLC
                       6 Foxwood Lane
                       Pepper Pike, OH 44124


                       Zashin & Rich
                       55 Public Sq., 4th Flr.
                       Cleveland, OH 44113


                       Zorebo Interactive



                       Zweig, Michael
                       30640 Stillwater Lane
                       Solon, OH 44139




19-12300-aih   Doc 1   FILED 04/17/19   ENTERED 04/17/19 13:55:13   Page 146 of 146
